Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 1 of 106 PageID 14




                     Exhibit “B”
   Certified Copy of State Court File
     Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15             Page 2 of 106 PageID 15



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MATTHEW R. MCCORMICK, DENVAN                    §
BENTLEY, MARTIN R. STEWART,                     §
SPENCER L. POLLARD, LEE R.                      §
SPIELMAN AND GARRETT                            §
STEVENSON                                       §
     Plaintiffs,                                §
                                                §
v.                                              §         CIVIL ACTION NO. ___________
                                                                           3:15-cv-02729
                                                §
RICHARD C. PAYNE, BRETT C.                      §
BRAYTON AND WARREN                              §
TRANSPORT, INC.                                 §
     Defendants.                                §

                             INDEX OF STATE COURT FILE

EXHIBIT        FILED                                  DOCUMENT

      B

      B-1                  Certified Copy of Court’s Docket Sheet in Cause No. CC-15-
                           03015-C)

      B-2    06/16/15      Plaintiffs’ Original Petition with attached discovery

      B-3    06/16/15      Citation – Brett Brayton

      B-4    06/16/15      Citation – Richard Payne

      B-5    06/16/15      Citation – Warren Transportation, LLC

      B-6    6/25/15       Return of Service – Warren Transportation LLC via registered
                           agent

      B-7    6/30/15       Plaintiffs’ First Amended Petition with Attached Discovery

      B-8    06/30/15      Citation – Warren Transport, Inc.

      B-9    07/10/15      Richard Payne’s Original Answer

     B-10    07/10/15      Vacation Letter – LeCrone Law Firm, PC


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EXHIBIT       FILED                                DOCUMENT

  B-11     07/30/15      Defendant Richard Payne’s Certificate of Written Discovery

  B-12     08/05/15      Affidavit of Process Server – Warren Transport, Inc. via hand
                         delivery on 7/31/15

  B-13     08/05/15      Return of Service – Warren Transport, Inc.

  B-14     08/06/15      Defendant Warren Transport, Inc. and Brett C. Brayton’s Original
                         Answer to Plaintiffs’ First Amended Petition Subject to
                         Defendants’ Motion to Transfer Venue

  B-14a                  Exhibit 1: Certified Police Report

  B15      08/07/15      Plaintiffs’ Notice of Nonsuit of Warren Transportation, LLC

  B16      8/13/15       Defendant/Cross Plaintiff Richard Payne’s Cross Claim and
                         Request for Disclosure




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               EXHIBIT “B-1”
                                        COUNTY COURT AT LAW       No.3
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                                         DOCKET SHEET
                                       CASE No. CC-15-03015-C
  MATTHEW R. MCCORMICK, DENVAN BENTLEY,                                     Location: County Court at Law No.3
 SPENCER L. POLLARD.et al                                            Judicial Officer: MONTGOMERY, SALLY
 vs.                                                                        Filed on: 06/16/2015
 RICHARD C. PAYNE, BRETT C. BRAYTON, WARREN
 TRANSPORTA TION, LLC.et al

                                            CASE INFORMATION


                                                                          Case Type: DAMAGES (COLLISION)
                                                                          Case Flags: LEVEL 2 CASE

   DATE                                         CASE ASSIGNMKNT


             Current Case Assignment
             Case Number                 CC-15-03015-C
             Court                       County Court at Law No.3
             Date Assigned               06/16/2015
             Judicial Officer            MONTGOMERY, SALLY



                                            PARTY INFORMATION
                                                                                           Lead Attorneys
PLAINTIFF      BENTLEY,DENVAN                                                               THOMAS, CRAIG W
                  1349 EMPIRE CENTRAL, STE. 700                                                         Retained
                  DALLAS, TX 75247                                                              972-529-3476(W)
                                                                                         MCKEY & SANCHEZ, PC
                                                                                         1349 EMPIRE CENTRAL
                                                                                                         DRiVE
                                                                                                     SUITE 700
                                                                                              DALLAS, TX 75247

               MCCORMICK, MATTHEW R.                                                        THOMAS, CRAIG W
                  1349 EMPIRE CENTRAL, STE. 700                                                         Retained
                  DALLAS, TX 75247                                                              972-529-3476(W)
                                                                                         MCKEY & SANCHEZ, PC
                                                                                         1349 EMPIRE CENTRAL
                                                                                                         DRiVE
                                                                                                     SUITE 700
                                                                                              DALLAS, TX 75247


DEFENDANT      BRAYTON, BRETT C.                                                        CHANDLER, BRENT W.
                  917 KENNNEDY AVENUE, TRLR 14                                                          Retained
                  MADRiD, fA 50156                                                              214-749-651O(W)
                                                                                            SARGENT LAWS, P.C
                                                                                              901 MAiN STREET
                                                                                                     SUITE 5200
                                                                                              DALLAS, TX 75202

               PA YNE, RICHARD C.                                                           LECRONE, ADAM B
                  6602 MARQUETT DRiVE                                                                    Retained
                  ROWLETT, TX 75089                                                              903-813-1900(W)
                                                                                             THELECORNELAW
                                                                                                           FIRM
                                                      TRUE ANi] CORRECT                     WALL STREET PLAZA
                                                      COpy OF ORiGINAL                    123 NORTH CROCKETT
                                                      FilED !N D,l\LLAS                       STREET, SUITE 200
                                                      COUNTY CLERK'S OFFICE                  SHERMAN, TX 75090


   DATE                                EVENTS   & ORDKRS OF TIm COliRT                               INDEX




                                                   PAGEIOF3                                    Printed on 0811712015 at 12:59 PM
                                         COUNTY COURT AT LAW   No.3
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                                          DOCKET SHEET
                                     CASE No. CC-lS-0301S-C
06/16/2015   NEW CASE FILED (OCA)

0611612015   •    ORIGINAL PETITION
                 PLAINTIFFS' ORIGINAL PETITION WITH ATTACHED DISCOVERY


06116/2015   Qj ISSUE CITATION
                 BRETT C. BRAYTON

06/18/2015   CITATION (SERVICE)
             BRAYTON, BRETT C.
             Unserved
             PLACED IN LDM BOX 6118115

0611812015   ~ ISSUE CITATION
                 RICHARD C. PAYNE

06/1812015   CITATION (SERVICE)
             I ....
                 PAYNE, RICHARD C.
             Served: 06/1812015
             PLACED IN LDM BOX 6118115


06118/2015   ~ ISSUE CITATION
                 WARREN TRANSPORTATON, LLC

06118/2015   CITATION (SERVICE)
             I ....
                 WARREN TRANSPORTATION, LLC
             Served: 06122/2015
             PLACED IN LDM BHOX6118115


0611912015   ~ RETURN OF SERVICE
                 Party: DEFENDANT PAYNE, RICHARD C.
                 CITATION SERVED 6118115 @2:20PM


06/25/2015   ~ RETURN OF SERVICE
                 Party: DEFENDANT WARREN TRANSPORTATION, LLC
                 CITATION SERVED 6122115@ 11:JOAM


06130/2015   •    AMENDED PETITION
                 Party: PLAINTIFF POLLARD, SPENCER L.; PLAINTIFF SPIELMAN, LEE
                 R.; PLAINTIFF STEVENSON, GARRETT; PLAINTIFF STEWART, MARTIN R
                 PLAINTIFFS' AMENDED PETITION WITH ATTACHED DISCOVERY


07/0112015   .5j ISSUE CITATION

07/0112015   CITATION (SERVICE)
             I r:W ARREN TRANSPORT, INC.
             Served: 07/3112015
             PLACED IN LDM BOX 711115


0711012015   rill ORIGINAL ANSWER
                 Party: DEFENDANT PAYNE, RICHAlU) C.                   TRUE AND CORRECT
                 Defendant Payne's Original Answer                     COpy OF ORIGINAL
                                                                       FILED IN DALLAS
07/10/2015   •    VACATION LETTER                                      COUNTY CLERK'S Of ICE


                                                 PAGE20F3                               Printed on 0811712015 at 12:59 PM
                                          COUNTY COURT AT LAW         No.3
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                                            DOCKET SHEET
                                          CASE No. CC-lS-0301S-C
               Party: A TIORNEY LECRONE, ADAM B
               Defendant Payne's Vacation Letter

07/13/2015   JURY TRIAL DEMAND
               Party: DEFENDANT PAYNE, RICHARD C.

07130/2015   rII CERTIFICATE - WRITTEN DISCOVERY
               Party: DEFENDANT PAYNE, RICHARD C.

08/05/2015   ~ RETURN OF SERVICE
               Party: DEFENDANT WARREN TRANSPORT, INC.
               CITATION SERVED 7131115@11:40AM


08/06/2015   rtI ORIGINAL ANSWER - GENERAL DENIAL
               Party: DEFENDANT BRAYTON, BRETT C.; DEFENDANT WARREN TRANSPORT,
               INC.
               TO PLTF'S FIRST AMENDED PETITION SUBJECT TO DEFT'S MOTION TO TRANSFER
               VENUE

08/07/2015   13 NOTICE - NONSUIT
08/13/2015   MIl CROSS CLAIM
               DefendantlCross-Plaintiff Richard C. Payne's Cross-Claim and Request for Disclosure


0812812015   MIl mSMISSAL HEARING (8:58 AM)          (Judicial Officer: MONTGOMERY, SALLY)
  DATE                                              FINANCIAL INFOHMATION


             CROSS CLAIM 1 CROSS CLAIM PLAINTIFF PAYNE, RICHARD
             Total Charges                                                                                       60.00
             Total Payments and Credits                                                                          60.00
             Balance Due as of 8/17/2015                                                                          0.00

             DEFENDANT PAYNE, RICHARD C.
             Total Charges                                                                                       22.00
             Total Payments and Credits                                                                          22.00
             Balance Due as of 8/17/2015                                                                          0.00

             PLAINTIFF MCCORMICK, MATTHEW R.
             Total Charges                                                                                      415.00
             Total Payments and Credits                                                                         415.00
             Balance Due as of 8/17/2015                                                                          0.00




                                                                                 TRUE AND COR.RECT
                                                                                 COpy OF ORIGINAL
                                                                                 FILED IN Dl,LLAS
                                                                             .;: COUNTY CLER1{'S OFfICg,


                                                      PAGE30F3                                       Printed on 0811712015 at 12:59 PM
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                              JOHN F. WARREN
                              Dallas County Clerk
                              George Allen Sr. Court Bldg.
                              600 Commerce St, Ste 101
                              Dallas, Texas 75202-3551




 STATE OF TEXAS

 COUNTY OF DALLAS



        I, John F. Warren, Clerk of the County Court of Dallas County Court at Law No.3,
 Dallas County, Texas do hereby certify that the foregoing is a true and correct copy of
 document in Cause No. CC-15-03015-C.


 MATTHEW R. MCCORMICK; DENVAN BENTLEY; SPENCER L. POLLARD; LEE
       R. SPIELMAN; GARRETT STEVENSON; MARTIN R STEWART; RICHARD
                                PAYNE, PLAINTIFF (S)
                                           VS
 RICHARD C. PAYNE; BRETTC. BRAYTON; WARREN TRANSPORTATION, LLC;
   WARREN TRANSPORT, INC.; BRETT C. BRAYTON; WARREN TRANSPORT,
                                INC., DEFENDANT (S)


 DOCKET SHEET filed on 16th day of June, 2015 in the Dallas County Court at Law No.
 3, Dallas County, Texas.


 WITNESS MY HAND AND SEAL of said Court this 17th day of August, 2015.


 John F. Warren, County Clerk


 By:
        Gwendolyn Thomas, Deputy
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               EXHIBIT “B-2”
                                                                                                           FILED
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                                                                                                  JOHN F. WARREN
                                                                                                    COUNTY CLERK
                                                                                                   DALLAS COUNTY



                             Cause No. CC-15-03015-C

 MATTHEW R. MCCORMICK,                             §      IN THE COUNTY COURT
 DENVAN BENTLEY,                                   §
 MARTIN R. STEWART                                 §
 SPENCER L. POLLARD,                               §
 LEE R. SPIELMAN, AND                              §
 GARRETT STEVENSON,                                §
 PLAINTIFFS                                        §
                                                   §
                                                   §
 VS.                                               §          AT LAW NO. _ __
                                                   §
                                                   §
RICHARD C. PAYNE, BRETT C.                         §
BRAYTON AND WARREN                                 §
TRANSPORTATION, LLC.,                              §
DEFENDANT                                          §     DALLAS COUNTY, TEXAS


        PLAINTIFFS' ORIGINAL PETITION WITH ATTACHED DISCOVERY


TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COME, DENVAN BENTLEY, MARTIN R. STEWART, MATTHEW R.

MCCORMICK, SPENCER L. POLLARD, LEE R. SPIELMAN, AND STEVENSON G.

WAYNE, hereinafter called Plaintiffs, complaining of and about, RICHARD C. CARVEL,

BRETT C. BRAYTON AND WARREN TRANSPORTATION, LLC., hereinafter called

Defendants, and would respectfully show unto the Court the following:

                         DISCOVERY CONTROL PLAN LEVEL

       1.     Plaintiffs intend that discovery be conducted under Discovery Level 2. Plaintiffs

              are currently seeking damages in excess of $ 100,000.00.




PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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                               PARTIES AND SERVICE

      2.    Plaintiff, DENVAN BENTLEY, is an individual whose address is 2109 Antonio

            Drive Avon, NY 19919. The last three digits of his social security number are

            616.

      3.    Plaintiff, MARTIN R. STEWART, is an individual whose address is 5727

            Camellia Avenue #103 N. Hollywood, CA 91601. The last three digits of his

            social security number are 674.

      4.    Plaintiff, MATTHEW R. MCCORMICK, is an individual whose address is 20

            Fairview Avenue Corte Madra, CA 94925. The last three digits of his social

            security number are 228.

      5.    Plaintiff, SPENCER L. POLLARD, is an individual whose address is 548 South

            Springs #812 Los Angeles, CA 90013. The last three digits of his social security

            number are 057.

      6.    Plaintiff, LEE R. SPIELMAN, is an individual whose address is 931 E. Pico

            Boulevard #225 Los Angeles, CA 90021. The last three digits of his social

            security number are 638.

      7.    Plaintiff, GARRETT STEVENSON, is an individual whose address is 237

            Colombia Place. Los Angeles, CA 90026. The last three digits of his social

            security number are 716.




PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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      8.    Defendant, RICHARD C. PAYNE, an individual who is a resident of Texas,

            may be served with process at his horne at the following address: 6602

            MARQUETT DR, ROWLETT, TX 75089-3864.                      Defendant will be served

            with process via private process server at the above address or wherever he may

            be found.

      9.    Defendant, BRETT C. BRAYTON, an individual who is a resident of Texas,

            may be served with process at his horne at the following address: 917 S

            KENNEDY AVE TRLR 14, MADRID, IA 50156-9642. Defendant will be

            served with process via private process server at the above address or wherever he

            maybe found.

      10.   Defendant, WARREN TRANSPORTATION, LLC. is a corporation that may

            be served through its registered agent CLAY KUTCH at: 3738 OAK LAWN

            AVE DALLAS, TX 75219-4333.

                              JURISDICTION AND VENUE

      11.   The subject matter in controversy is within the jurisdictional limits of this court.

      12.   This court has jurisdiction over Defendant because Defendant is a resident of the

            State of Texas.

      13.   Venue in Dallas County is proper in this cause under Section IS.002(a) (1) of the

            Texas Civil Practice and Remedies Code because all or a substantial part of the

            events or omissions giving rise to this lawsuit occurred in this county.

                                               MISNOMER

      14.   Plaintiffs plead the doctrine of misnomer if any of the Defendants are incorrectly

            named or spelled. It is Plaintiffs intention to name the Defendant trucking



PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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            company that is responsible for this motor vehicle collision and the truck driver

            that was operating the vehicle that collided with Plaintiffs as Defendants in this

            lawsuit.

                                                   FACTS

      15.   On or about December 11, 2013, Plaintiff MATTHEW R. MCCORMICK was

            operating a motor vehicle in McKinney, Texas. Plaintiffs DENVAN BENTLEY,

            MARTIN R. STEWART, SPENCER L. POLLARD, LEE R. SPIELMAN, AND

            GARRETT STEVENSON were passengers in the motor vehicle conducted by

            Plaintiff MATTHEW R. MCCORMICK. Defendant RICHARDC. PAYNE was

            also operating a motor vehicle in McKinney, Texas. Defendant BRETT C.

            BRAYTON, while in the scope of employment of Defendant WARREN

            TRANSPORTATION, LLC. was also operating a motor vehicle in McKinney,

            Texas.

      16.   Plaintiffs were in a van and were traveling northbound on 1-75 in the left lane.

            Due to traffic coming to a stop ahead, Plaintiff MATTHEW R. MCCORMICK

            came to a normal stop on the highway. Plaintiff had been stopped for about 30

            seconds when Defendant RICHARD C. PAYNE failed to control his speed and

            pay proper attention and collided into the rear of Plaintiffs' vehicle.

      17.   Plaintiffs' vehicle was immediately rear-ended a second time when Defendant

            BRETT C. BRAYTON failed to control his vehicle and collided against

            Defendant RICHARD C. PAYNE's. vehicle, causing a second impact against

            Plaintiffs' vehicle. Due to this second impact, Plaintiffs' vehicle was knocked into

            the vehicle in front of them.



PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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                PLAINTIFFS' CLAIM OF NEGLIGENCE AGAINST
                      DEFENDANT RICHARD C. PAYNE

      1.    Defendant RlCHARD C. PAYNE had a duty to exercise the degree of care that a

            reasonably prudent and/or careful person would use to avoid harm to others under

            circumstances similar to those described herein.

      2.    Plaintiffs' injuries were proximately caused by Defendant's negligent, careless

            and reckless· disregard of said duty.

      3.    The negligent, careless and reckless disregard of duty of Defendant RICHARD C.

            PAYNE consisted of, but is not limited to, the following acts and omissions:

                   A.      In that Defendant RlCHARD C. PAYNE failed to keep a proper
                           lookout as a person of ordinary prudence would have kept under
                           the same or similar circumstances;

                   B.     In that Defendant RlCHARD C. PAYNE was not           adequately
                   paying attention to his surroundings;

                   C.      In that Defendant RlCHARD C. PAYNE failed to timely apply
                   his brakes;

                   D.      In that Defendant RICHARD C. PAYNE failed to maintain such
                           distance away from Plaintiff s vehicle as a person using ordinary
                           prudent care would have done;

                   E.      In that Defendant RlCHARD C. PAYNE took either                faulty
                           or no evasive action.

                   F.     In that Defendant RlCHARD C. PAYNE failed to avoid the
                   accident or warn Plaintiffs; and,

                   G.      In that Defendant RlCHARD C. PAYNE violated         section
                           545.062 of the Texas Transportation Code.

                PLAINTIFFS' CLAIM OF NEGLIGENCE AGAINST
                      DEFENDANT BRETT C. BRAYTON

      4.    Defendant BRETT C. BRAYTON had a duty to exercise the degree of care that a

            reasonably prudent and/or careful person would use to avoid harm to others under


PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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                circumstances similar to those described herein.

      5.        Plaintiffs' injuries were proximately caused by Defendant's negligent, careless

                and reckless disregard of said duty.

      6.        The negligent, careless and reckless disregard of duty of Defendant BRETT C.

                BRAYTON consisted of, but is not limited to, the following acts and omissions:

                       A.        In that Defendant BRETT C. BRAYTON failed to keep a proper
                                 lookout as a person of ordinary prudence would have kept under
                                 the same or similar circumstances;

                       B.     In that Defendant BRETT C. BRAYTON was not            adequately
                       paying attention to his surroundings;

                       C.      In that Defendant BRETT C. BRAYTON failed to timely apply
                       his brakes;

                       D.        In that Defendant BRETT C. BRAYTON failed to maintain such
                                 distance away from Plaintiff s vehicle as a person using ordinary
                                 prudent care would have done;

                       E.        In that Defendant BRETT C. BRAYTON took either             faulty
                                 or no evasive action.

                       F.     In that Defendant BRETT C. BRAYTON failed to avoid the
                       accident or warn Plaintiffs; and,


                       G.        In that Defendant BRETT C. BRAYTON violated section
                                 545.062 of the Texas Transportation Code.

      NEGLIGENT ENTRUSTMENT OF WARREN TRANSPORTATION, LLC.

      18.       The conduct of Defendant, WARREN TRANSPORTATION, LLC., by

                negligently      entrusting the vehicle to Defendant, BRETT C.      BRAYTON,

      was the proximate cause of Plaintiff s damages in the          following acts of negligence,

      to wit:

                       A. Defendant, WARREN TRANSPORTATION, LLC., knew or should
                              have   known   that   Defendant,     BRETT   C.    BRAYTON,    by a


PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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                          preponderance of the evidence, was a reckless or incompetent
                          driver.

                     B. Defendant, WARREN TRANSPORTATION, LLC., should have used
                          ordinary care knowing that Defendant, BRETT C. BRAYTON, was
                          an incompetent driver, and denied the use of such vehicle to
                          BRETT C. BRAYTON, who subsequently caused the accident, which
                          was the proximate cause of the injuries and damages sustained by
                          Plaintiffs.


                     C. Defendant, WARREN TRANSPORTATION, LLC., through acts of
                        negligence or gross negligence, placed the Plaintiffs, and the
                        general publics, safety at jeopardy and is liable for the harm
                        suffered by the Plaintiffs. Defendants are jointly and severally
                        liable for all Plaintiffs injuries.


                                  RESPONDEAT SUPERIOR

      19.   At the time of the accident Defendant, BRETT C. BRAYTON was the agent,

            servant, and employee of defendant, WARREN TRANSPORTATION, LLC. and

            was acting within the scope of his authority as such agent, servant and employee.


                                DAMAGES FOR PLAINTIFFS

      20.   As a direct and proximate result of the occurrence made the basis of this lawsuit, Plaintiffs were

            caused to suffer physical injuries, and to incur the following damages:


                     A.       Reasonable medical care and expenses in the past. These expenses
                              were incurred by the Plaintiffs for the necessary care and treatment
                              of the injuries resulting from the accident complained of herein,
                              and such charges are reasonable and were usual and customary
                              charges for such services;

                     B.       Reasonable and necessary medical care and expenses that,                     III
                              reasonable probability, will be incurred in the future;

                     C.       Physical pain and suffering in the past;

                     D.       Physical pain and suffering that, in reasonable probability, will be
                              sustained in the future;


PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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                     E.      Physical impairment in the past;

                     F.      Physical impairment that,     III   reasonable probability, will be
                             sustained in the future;

                     G.     Mental anguish in the past;

                     H.     Mental anguish that, in reasonable probability, will be sustained in
                            the future;

                     1.     Loss of wages in the past;

                     J.     Loss of earning capacity that, in reasonable probability, will be
                            sustained in the future; and,

                     K.     Property damage, diminution in value, and loss of use.

                              REQUEST FOR DISCLOSURE
      21.    Pursuant to Texas Rule of Civil Procedure 194.2, you are hereby requestedto

      respond within 50 days of service of this request with information and      materials

      specified under Texas Rule of Civil Procedure 194.2 (a) - (1).


        DOCUMENT PRODUCTION/ SPOLIATION TO ALL DEFENDANTS

      22.    Plaintiffs request that all Defendants, Defendants' attorneys, and Defendants'
      insurance carrier, preserve all documents and evidence related to this car wreck,
      including all photographs, estimates and statements taken in connection with Defendants
      and Defendants' insurance carrier's investigation of this wreck.

      23.     Pursuant to Texas Rule of Civil Procedure 196, Plaintiffs demand Defendants to
      respond and produce to the undersigned counsel within fifty (50) days of service of this
      petition all documents related to the wreck that are in the care, control and/or possession
      of Defendants, Defendants; insurance carrier and Defendant's attorney, including but not
      limited to the following documents:

                     1.     All photographs (produce color photos) of the vehicles involved in
                            this wreck;

                     2.     All property damage and/or repair estimates of the vehicles
                            involved in this wreck;



PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
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                  3.    If the vehicles were totaled, all documents used or relied upon in
                        making or accessing the value of the vehicle( s) that were declared
                        total losses;

                  4.    All recorded statements taken in connection with the investigation
                        of this wreck (Plaintiff requests an actual audio or video copy of
                        the statement);

                  5.    A copy of the title to Defendant's vehicle that was involved in
                        the motor vehicle wreck made the basis of this suit;

                  6.    A copy of the title to Defendant's vehicle;

                  7.    A copy of Defendant's driver's license;

                  8.    All documents related to any investigation that was done by a
                        police, sheriff, highway patrol or any other governmental body
                        that is in the care, custody or control of Defendants, Defendants'
                        attorney or Defendants' insurance carrier. This is a simple request
                        for a copy of the police report or police incident report that is in
                        Defendants' possession or control;

                  9.    All documents that Defendants intends to offer at trial in support
                        of any claim or contention in this matter;

                  10.   All receipts/invoices are documents evidencing what Defendants
                        had to eat or drink (including alcoholic beverages) on the date of
                        the incident made the basis of this lawsuit;

                  11.   All documents evidencing where Defendants had been on the date
                        of the collision in question.

                  12.   All documents that Defendants have regarding the motor vehicle
                        wreck that forms the basis of this suit;

                  13.   All contracts of employment evidencing who any Defendants
                        employer was at the time of the wreck that forms the basis of this
                        suit.

                  14.   Any pre-employment questionnaire or other documents secured
                        from any Defendant's driver that was involved in this wreck made
                        the basis of this lawsuit prior to employment.

                  15.   Any and all applications for employment completed by any
                        Defendant's driver that was involved in this wreck made the basis
                        of this lawsuit.


PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
                                                   Page 9 of 14
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                Page 19 of 106 PageID 32




                    16.    A copy of any document generated or received as a result of any
                           Defendants' inquiry into the driving record of any Defendant's
                           driver that was involved in this wreck made the basis of this
                           lawsuit.

                    17.    All paychecks or pay stubs for BRETT C. BRAYTON JR.
                           between December 1,2013 and January 1,2014.

                    18.    All documents regarding the training that was provided to
                           Defendant BRETT C. BRAYTON by his employer;

                    19.    All documents provided to Defendant BRETT C. BRAYTON
                           regarding how he was suppose to do or perform his job.

                   20.     Pursuant to Texas Rule of Evidence 609(f), any documents or
                           evidence of a conviction of any party to this lawsuit.

                   21.     All phone, text, and data usage records from any Defendant's cell
                           phone, or any other cell phone in Defendant's possession, even if
                           provided to any Defendant by an employer, friend or family
                           member, for the entirety of the date of the accident made the basis
                           of this lawsuit.

                        INTERROGATORIES TO DEFENDANTS

      24.   Pursuant to Texas Rule of Civil Procedure 197, demand is now made for

            Defendants to respond to the undersigned counsel within fifty (50) days of service

            of this petition with written answers to the following interrogatories:


                   1.      Please state the full name, address, telephone number, date of birth,
                           driver's license number, social security number, and occupation of
                           the person answering these interrogatories.

                   2.      State whether you, the truck driver involved in this wreck made the
                           basis of this lawsuit, were acting within the course and scope of
                           any employment, service or agency at the time of the collision, and
                           describe the relationship of the persons involved.

                   3.      State the Style, Court and Cause number of any lawsuit you have
                           been a party to and the final disposition of said suit.




PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
                                                   Page 10 of 14
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15            Page 20 of 106 PageID 33




                  4.    Do you, your attorneys or investigators or anyone acting on your
                        behalf, have any maps, charts, diagrams, photographs, videos,
                        motion pictures, and/or recordings taken of the scene of this
                        incident, or of any of the physical or mechanical objects, or of the
                        person involved in this incident? If yes, then please indicate your
                        willingness to allow the Plaintiffs' counsel in this lawsuit to
                        inspect and copy or photograph the same.

                  5.    Do you contend that any personal injuries or damages sustained by
                        any Plaintiff in this suit were caused by an occurrence other than
                        this accident, such as a disease or physical condition, either before
                        or after the incidents made the basis of this case? If so, describe in
                        detail such other occurrence, disease, injury or condition.

                  6.    If you obtained any medical attention as a result of any injuries you
                        sustained in this wreck, please state the name of the medical
                        provider(s) who treated you, the type of medical treatment you
                        received (i.e., physical therapy, MRIs, etc.), the timeframe for
                        which you obtained medical treatment and list the body parts that
                        you injured as a result of this motor ve4icle wreck.

                  7.    Do you contend that any Plaintiff in this suit violated any traffic
                        laws at the time or immediately prior to the collision? If so,
                        describe what you contend to be the violation or give the statute
                        number of the violation.

                  8.    If you contend that the collision in question was an "unavoidable
                        accident," describe in detail what you believe to be the cause of the
                        accident, to the exclusion of the conduct of the Plaintiffs or you.

                  9.    If you contend that someone else's conduct or something else is the
                        "sole proximate cause" of the accident in question, describe in
                        detail the identity of that person, or what exactly caused the
                        collision.

                  10.   Please describe how the wreck occurred, including the directions
                        of travel, the speed of the respective vehicles, and why you
                        contend this wreck occurred.

                  11.   Who gave you permission to operate the vehicle that you
                        were traveling in when this wreck occurred?




PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
                                                   Page 11 of 14
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15               Page 21 of 106 PageID 34




                  12.     When did you first receive permission to operate the
                          vehicle that you were operating when this wreck occurred?

                  13.     How often did you drive the vehicle that you were
                          traveling in when this wreck occurred?

                 REQUEST FOR ADMISSIONS TO DEFENDANTS

      25.   Pursuant to Texas Rule of Civil Procedure 198, demand is now made upon

            Defendants to      respond to the undersigned counsel within fifty (50) days of

            service of this petition with written responses to the following Request for

            Admissions:

                   1.       Admit to the jury that you have been properly named in the above
                            entitled and numbered cause.
                  2.        Admit to the jury that you have been properly served with citation
                            in the above entitled and numbered cause.
                  3.        Admit that the collision made the basis of this suit was not the
                            result of a sudden emergency.
                  4.        Admit that the collision made the basis of this suit did not result
                            from an unavoidable accident.
                  5.        Admit that there was no non-human event or condition that
                            contributed to the collision made the basis of this suit.
                  6.        Admit that there was no non-human event or condition that was
                            the sole cause of the collision made the basis of this suit.
                  7.        Admit that the collision made the basis of this suit was proximately
                            caused, at least in part, by your negligence.
                  8.        Admit to the jury your negligence was the sole cause of the
                            collision made the basis of this lawsuit.

                  9.        Admit to the jury that you failed to exercise ordinary care in the
                            operation of your motor vehicle in the collision made the basis of
                            this lawsuit.

                  10.       Admit that collision made the basis of this suit did not occur
                            because of the negligence of Plaintiff.




PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
                                                   Page 12 of 14
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15               Page 22 of 106 PageID 35




                    11.     Admit that any of Plaintiff did not fail to act as a person of
                            ordinary prudence would have done under the same or similar
                            circumstances in the collision made the basis of this suit.

                    12.     Admit that your vehicle struck Plaintiff's vehicle in the collision
                            made the basis of this suit.

                    13.     Admit that you accept full responsibility for the collision made the
                            basis of this suit.

                    14.     Admit that you were under employment by WARREN
                            TRANSPORTATION, LLC.when the collision occurred.

                    15.     Admit that you were operating WARREN TRANSPORTATION
                            LLC.'s truck in the course and scope of your employment with the
                            company.

                                  NOTICE OF STATUTE

      26.   Plaintiffs hereby also provide notice of his intent to use the Sections 552.003 and

            550.021 (a) of the Texas Transportation Code. Plaintiffs request the court to take

            judicial notice of this statue.

                          NOTICE PURSUANT TO TRCP 193.7

            NOTICE IS HEREBY GIVEN that pursuant to Rule 193.7 of the Texas Rules of

            Civil Procedure, Counsel for Plaintiffs intends to use Defendant's discovery

            responses and any documents produced in discovery in the trial of this cause of

            action and/or any hearings before the Court herein.




PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
                                                   Page 13 of 14
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                   Page 23 of 106 PageID 36




                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully pray that the

 Defendants be cited to appear and answer herein, and that upon a final hearing of the cause,

 judgment be entered for the Plaintiffs against Defendants for damages in an amount within the

 jurisdictional limits of the Court; together with pre-judgment interest (from the date of injury

 through the date of judgment) at the maximum rate allowed by law; post-judgment interest at the

 legal rate, costs of court; and such other and further relief to which Plaintiffs may be entitled at

 law or in equity.


                                               McKEy &     SANCHEZ, P.e.




                                               Craig W. Thomas
                                               State Bar No. 24048047
                                               craig@972lawfirm.com
                                               Jeremy W. McKey
                                               State Bar No. 24053353
                                               jeremy@972lawfirm.com
                                               1349 Empire Central, Ste. 700
                                               Dallas, TX 75247
                                               (972) LAW-FIRM
                                               (972) 529-3476 Phone / Fax

                                               ATTORNEYS FOR PLAINTIFFS




 PLAINTIFFS' ORIGINAL PETITION WITH ATTAHCED DISCOVERY
                                                    Page 14 of 14
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 24 of 106 PageID 37




                EXHIBIT “B-3”
                              Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                Page 25 of 106 PageID 38

                                                                                                                                            ATTORNEY
                                THE STATE OF TEXAS                                                                                     CITATION
                                                                                                                             PLAINTIFFS' ORIGINAL PETITION
                                    CITATION                                                                                  WITH ATTACHED DISCOVERY
                                  CAUSE NO. CC-IS-03015-C                                                                            CC-I5-03015-C
                                COUNTY COURT AT LAW NO.3
                                     Dallas County, Texas                                                                    IN THE COUNTY COURT OF DALLAS
                                                                                                                                   County Court at Law No.3
TO:                                                                                                                                  Dallas County, Texas
     BRETT C. BRAYTON                                                                                                           MATIHEW R. MCCORMICK;
     917 KENNNEDY AVENUE TRLR 14                                                                                               DENVAN BENTLEY;MARTIN R.
     MADRID IA 50156                                                                                                          STEWART; SPENCER L. POLLARD:
                                                                                                                                LEE R. SPIELMAN; GARRETT
 "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN                                         STEVENSON
 ANSWER with the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of                             Plaintiff(s}
 twenty days after you were served this citation and PLAINTIFFS' ORIGINAL PETITION, a default judgment
 may be taken against you." Your answer should be addressed to the clerk of County Court at Law No.3 of                                         VS.
 Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas
 75202.                                                                                                                        RICHARD C. PAYNE; BRETT C.
                                                                                                                                   BRA YTON; WARREN
        MATTHEW R. MCCORMICK; DENV AN BENTLEY; MARTIN R. STEWART; SPENCER L.                                                     TRANSPORTATION, LLC,
                    POLLARD; LEE R. SPIELMAN; GARRETT STEVENSON                                                                        Defendant(s)
                                       Plaintiff(s)
                                         VS.
                                                                                                                            SERVE:
            RICHARDC. PAYNE; BRETTC. BRAYTON; WARREN TRANSPORTATION, LLC                                                            BRETT C. BRAYTON
                                      De!endanl(s)                                                                            917 KENNNEDY AVENUE TRLR 14
                                                                                                                                     MADRID fA 50156
 filed in said Court on the 16th day of June, 2015a copy of which accompanies this citation.
                                                                                                                                          ISSUED THIS
                                                                                                                                      18th day of June, 2015
 WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
 HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 18th day of June, 2015 A.D.

 10;
                                                                                                                                  John F. Warren, County Clerk
                                                                                                                                  By: Ouisla Hernandez, Deputy
        fJW ~~N'ID~ county.~lerk

     C.7tttJ!ft tkUWt{ab~puty
                                                                                                                                      Attorney for Plaintiff
By                                                                                                                                    CRAIG W THOMAS
       Guisla Hernandez            ()                                                                                              MCKEY & SANCHEZ PC
                                                                                                                                1349 EMPIRE CENTRAL DRIVE
                                                                                                                                          SUITE 700
                                                                                         CC-16-03016-C                                DALLAS TX 75247
                                                                                         CICI
                                                                                                                                           972~529-3476
                                                                                         ISSUE CITATION
                                                                                         652891


                                                                                         fllllll~III~I"~III~If~II~III~           NO OFFICER'S fEES Hf-V'· .
                                                                                                                              COU.ECTED BY DAU.N; '.
                                 Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                  Page 26 of 106 PageID 39

                                                                           OFFICER'S RETURN

CC-lS-030JS-C County Court at Law No.3

MATTHEW R. MCCORMICK, DENV AN BENTLEY, SPENCER L. POLLARD.et al vs. RICHARD C. PAYNE, BRETT C. BRAYTON, WARREN TRANSPORTATION,
LLC

ADDRESS FOR SERVICE:
917 KENNNEDY AVENUE TRLR 14
MADRID IA 50156

Fees:
Came to hand on the _ _day of                  , 2 0 , at _ _o'clock _ _.m., and executed in                     County, Texas by delivering to BRETT C.
BRAYTON in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS' ORIGINAL PETITION with the date and service at the
following times and places to-wit:

Name                                                   Dateffime                         Place, Course and Distance from Courthouse



And not executed as to the defendant(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


                                               Serving Petition and Copy         $_---   _ _ _ _ _ _ _ _ _ _ _ _ _-', Officer

                                               Total     $                               _ _ _ _ _ _ _ _ _ _ _,' County, Texas
                                                         ----
                                                                                         By: _ _ _ _ _ _ _ _ _ _ _-', Deputy

                                                                                         _ _ _ _ _ _ _ _ _ _ _ _ _,' Affiant
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 27 of 106 PageID 40




                EXHIBIT “B-4”
                             Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                             Page 28 of 106 PageID 41

                                                                                                                                     ATTORNEY
                                THE STATE OF TEXAS                                                                                   CITATION
                                    CITATION                                                                             PLAINTIFFS' ORIGINAL PETITION
                                                                                                                          WITH ATTACHED DISCOVERY
                                 CAUSE NO. CC-I5-03015-C
                               COUNTY COURT AT LAW NO.3                                                                           CC-lS-0301S-C
                                    Dallas County, Texas
                                                                                                                          IN THE COUNTY COURT OF DALLAS
TO:                                                                                                                             County Court at Law No.3
                                                                                                                                Dallas County, Texas
 RICHARD C. PAYNE
 6602 MARQUETT DRIVE                                                                                                      MATTHEW R. MCCORMICK; DENV AN
 ROWLETT TX 75089                                                                                                         BENTLEY; SPENCER L. POLLARD; LEE
                                                                                                                          R. SPIELMAN; GARRETT STEVENSON;
 "You have been sued. You may employ an attorney. If you Of your Attorney do not file a WRITTEN                              MARTIN R STEWART, Plointi./Rs)
 ANSWER with the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of
                                                                                                                                           VS.
 twenty days after you were served this citation and PLAINTIFFS' ORIGINAL PETITION WITH AITACHED
 DISCOVERY, a default judgment may be taken against you." Your answer should be addressed to the clerk of                   RICHARD C. PAYNE; BRETT C.
 County Court at Law No.3 of Dallas County, Texas at the Court House of said County, 600 Commerce Street,                       BRAYTON; WARREN
 Suite 101, Dallas, Texas 75202.                                                                                          TRANSPORTAnON, LLC, Defendam(s)

 MATTHEW R. MCCORMICK; DENVAN BENTLEY; SPENCER L. POLLARD; LEE R. SPIELMAN;                                             SERVE:
                  GARRETT STEVENSON; MARTIN R STEWART                                                                              RICHARD C. PAYNE
                                Plaintiff(s)                                                                                     6602 MARQUETT DRIVE
                                  VS.                                                                                              ROWLETT TX 75089

          RICHARD C. PAYNE; BRETT C. BRAYTON; WARREN TRANSPORTATION, LLC                                                              ISSUED THIS
                                      Defendant(s)                                                                                18th day of June, 2015

                                                                                                                               John F. Warren. County Clerk
tiled in said Court on the 16th day of June, 201 Sa copy of which accompanies this citation.
                                                                                                                              By: Guisla Hernandez, Deputy
WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                       Attorney for Plaintiff
HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 18th day of June, 2015 A.D.
                                                                                                                                  CRAIG W THOMAS
                                                                                                                               MCKEY & SANCHEZ PC
                                                                                                                            1349 EMPIRE CENTRAL DRIVE
                                                                                                                                      SUITE 700
                                                                                                                                  DALLAS TX 75247
                                                                                                                                     972-529-3476

                                                                                         CC-16-0301li_C
                                                                                        CICI
                                                                                        ISSUE CITATI{JN
                                                                                        862868
                                                                                                                             NO OFFICER'S FEES HAVE BEEN


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                                                                                                                          COLLECTED BY DAl.LAS COUNlY UERK
                                 Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                  Page 29 of 106 PageID 42

                                                                           OFFICER'S RETURN

CC-IS-030 15-C County Court at Law No.3

MATTHEW R. MCCORMICK, DENVANBENTLEY, SPENCER L. POLLARD.etal vs.RICHARD C. PAYNE, BRETTC. BRAYTON, WARREN TRANSPORTATION,
LLC

ADDRESS FOR SERVICE:
6602 MARQUETT DRIVE
ROWLETT TX 75089

Fees:
Came to hand on the _ _day of                         , 20          , at _ _o'clock _ _ .m., and executed in       County, Texas by delivering to RICHARD
C. PAYNE in person, a true copy ofthis Citation together with the accompanying copy of the PLAINTIFFS' ORIGINAL PETITION WITH ATTACHED DISCOVERY
Petition with the date and service at the following times and places to-wit:

Name                                                     Date!fime                       Place, Course and Distance rrom Courthouse



And not executed as to the defendant{s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--.;.._ _ _ _ __

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


                                               Serving Petition and Copy         $_---   _ _ _ _ _ _ _ _ _ _ _ _ _ _:, Officer

                                               Total     $                               _ _ _ _ _ _ _ _ _ _ _ _ _.Coun~,Texas
                                                          ----
                                                                                         By: _ _ _ _ _ _ _ _ _ _ _ _" Depu~

                                                                                         _ _ _ _ _ _ _ _ _ _ _ _ _" Affiant
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 30 of 106 PageID 43




                EXHIBIT “B-5”
                              Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                          Page 31 of 106 PageID 44

                                                                                                                                  ATTORNEY
                                THE STATE OF TEXAS                                                                                CITATION
                                    CITATION                                                                           PLAINTIFFS' ORIGINAL PETITION
                                  CAUSE NO. CC-15-03015-C                                                               WITH ATTACHED DISCOVERY
                                COUNTY COURT AT LAW NO.3                                                                        CC-lS-0301S-C
                                     Dallas County, Texas
                                                                                                                        IN THE COUNTY COURT OF DALLAS
TO:                                                                                                                           County Court at Law No.3
                                                                                                                              Dallas County. Texas
  WARREN TRANSPORTATION, LLC
  SERVE ITS REG AGENTCLA Y KUTCH                                                                                       MATIHEW R. MCCORMICK; DEN VAN
  3738 OAK LAWN AVE                                                                                                    BENTLEY; SPENCER L. POLLARD; LEE
  DALLAS TX 75219                                                                                                      R. SPlELMAN; GARRETI STEVENSON;
                                                                                                                          MARTIN R STEWART, PlaintijJ(s)
 "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN
                                                                                                                                        VS.
 ANSWER with the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of
 twenty days after you were served this citation and PLAINTIFFS' ORIGINAL PETITION WITH AITACHED                          RICHARD C. PAYNE; BRETI C.
 DISCOVERY a default judgment may be taken against you." Your answer should be addressed' to the clerk of                     BRAYTON; WARREN
 County Court at Law No.3 of Dallas County, Texas at the Court House of said County, 600 Commerce Street,               TRANSPORTATION, LLC, Defendant{s)
 Suite tol. Dallas, Texas 75202.
                                                                                                                      SERVE:
  MATTHEW R. MCCORMICK; DENVAN BENTLEY; SPENCER L. POLLARD; LEE R. SPIELMAN;                                             WARREN TRANSPORTATION. LLC
                   GARRETT STEVENSON; MARTIN R STEWART                                                                  SERVE ITS REG AGENTCLA Y KUTCH
                                 Plaintif/(s)                                                                                  3738 OAK LAWN AVE
                                   VS.                                                                                           DALLAS TX 75219

           RICHARD C. PAYNE; BRETT C. BRAYTON; WARREN TRANSPORT ATlON, LLC                                                         ISSUED THIS
                                                   De!endant(s)                                                                18th day of June, 2015

                                                                                                                            john F. Warren, County Clerk
 filed in said Court on the 16th day of June, 2015a copy of which accompanies this citation.                                By: Guisla Hernandez, Deputy

 WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                    Anorney for Plaintiff
 HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 18th day of June, 2015 A.D.                                        CRAIG W THOMAS
                                                                                                                            MCKEY & SANCHEZ PC
 JO~WARREN,            Dall   CountyCle~                                                                                 1349 EMPIRE CENTRAL DRIVE
  01/~
   Ylei ,"" ' ~".-
               .                                                                                                                   SUITE 700
Byv                      ~d   A    a:;,eputy
                                                                                                                               DALLAS TX 75247
                                                                                                                                  972-529-3476
      Guisla Hernandez                I
                                                                                               CC-16-03015-C
                                                                                               CICI
                                                                                               ISSUE CITATION
                                                                                               862896                           NO OFFICER'S FEES HAVE BEEN


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                                                                                                                             COLLECTED BY DAU AS C(~UNTV ClFRK
                                 Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                Page 32 of 106 PageID 45

                                                                           OFFICER'S RETURN

CC-15~03015-C     County Court at Law No.3

MATTHEW R. MCCORMICK, DENVAN BENTLEY, SPENCER L. POLLARD.et al vs. RICHARD C. PAYNE, BRETT C. BRAYTON, WARREN TRANSPORTATlON,
LLC
 ADDRESS FOR SERVICE:
SERVE ITS REG AGENTCLA Y KUTCH
"3738 OAK LAWN AVE
 DALLAS TX 75219

Fees:
Came to hand on the _ _day of                    , 20         , at _ _o'clock _ _.m., and executed in               County, Texas by delivering to WARREN
TRANSPORTATlON, LLC in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS' ORIGINAL PETITION WITH ATTACHED
DISCOVERY with the date and service at the following times and places t~wit:

Name                                                     Daterrime                      Place, Course and Distance from Courtbouse



And not executed as to the defendant(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-,-_ _ _ _ _ _ _ _ _ _ _ __

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


                                               Serving Petition and Copy                _ _ _ _ _ _ _ _ _ _ _ _ _ _, Officer
                                                                                 $_--
                                               Total     $_ _ __                        _ _ _ _ _ _ _ _ _ _---', County, Texas

                                                                                        By: _ _ _ _ _ _ _ _ _ _ _ _, Deputy

                                                                                        _ _ _ _ _ _ _ _ _ _ _ _ _--', Affiant
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 33 of 106 PageID 46




                EXHIBIT “B-6”
                             Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                               Page 34 of 106 PageID 47

                                                                                                                                               ATTORNEY                 I
                                 THE STATE OF TEXAS                                                 fILED                                      CITATION
                                                                                                 JOHN F. WARHEN
                                     CITATION                                                    C8UNTY CLERK                   PLAINTIFFS' ORIGINAL PETITION
                                   CAUSE NO. CC-15-03015-C                               '~llAS     COUNTY. TEXAS'               WITH ATTACHED DISCOVERY
                                 COUNTY COURT AT LAW NO.3                                                                                   CC-lS-0301S:"C
                                      Dallas County, Texas
                                                                                                                                   IN THE COUNTY COURT OF DALLAS
 TO:                                                                                                                                     County Court at Law No. 3
                                                                                                                                           Dallas County, Texas
    WARREN TRANSPORTATION, LLC
    SERVE ITS REG AGENTCLAY KUTCH                                                                                                MATTHEW R. MCCORMICK; DENVAN
    3738 OAK LAWN AVE                                                                                                            BENTLEY; SPENCER L. POLLARD; LEE
    DALLAS TX 75219                                                                                                              R. SPIELMAN; GARRETT STEVENSON;
                                                                                                                                    MARTIN R STEWART, Plainti,ff(s)
   "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN
                                                                                                                                                     VS.
   ANSWER with the clerk who issued this citation by ] 0:00 AM. on the Monday next following the expiration of
   twenty days after you were served this citation and PLAINTIFFS' ORIGINAL PET{TION WITH ATTACHED                                  RICHARD C. PAYNE; BRETT C.
   DISCOVERY a default judgment may be taken against you." Your answer should be addressed to the clerk of                              BRAYTO~; 'NARREN
   County Court at Law No.3 of Dallas County, Texas at the Court House of said County, 600 Commerce Street,                       TRANSPORTATION, LLC, De/endant(s)
   Suite 101, Dallas, Texas 75202.
                                                                                                                             SERVE:
    MATTHEW R. MCCORMICK; DENVAN BENTLEY; SPENCER L. POLLARD; LEE R. SPIELMAN;                                                  WARREN TRANSPORTATION, LLC
                    GARRETT STEVENSON; MARTIN R STEWART                                                                        SERVE ITS REG AGENTCLA Y KUTCH
                                   Plaintif/(s)                                                                                       3738 OAK LAWN AVE
                                     VS.                                                                                                DALLAS IX 75219

                 RICHARD C. PAYNE; BRETT C. BRAYTON; WARREN TRANSPORTATION, LLC                                                                 ISSUED THIS
                                             Dejendant(s)                                                                                   18th day of June, 2015

                                                                                                                                         John F. Warren, County Clerk
  filed in said Court on the 16th day of June, 20 15a copy of which accompanies this citation.                                           By: Guisla Hernandez. Deputy

  WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                                 Attorney for Plaintiff
  HAND AND SEAL OF OFFICE, at Dallas; Texas, and issued this 18th day of June, 2015 A.D.                                                     CRAIG W THOMAS
                                                                                                                                          MCKEY & SANCHEZ PC
  J0;!JWA~> Dan s County CI"k                                                                                                          1349 EMPIRE CENTRAL DRIVE


                           .J;t'~eputy
                                                                                                                                                  SUITE 700
                                                                                                                                             DALLAS TX 75247
             ttt,;J
By .......: \{                                                                                                                                  972-529-3476
        Guisla Hernandez         IJ                                                                                       . '''. ,'.
                                 Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                           Page 35 of 106 PageID 48


                                                                          OFFICER'S RETURN
CC-15-030 15-C County Court at Law No.3

MATTHEW R. MCCORMICK, DENV AN BENTLEY, SPENCER L. POLLARD.et al                        VS.   RICHARD C. PAYNE, BRETT C. BRAYTON, WARREN TRANSPORTATION,
LLC

ADDRESS FOR SERVICE:
SERVE ITS REG AGENTCLAY KUTCH
3738 OAK LAWN AVE
DALLAS TX 75219

Fees:               vA.J41-.                                                                                _~,
                       ~day' of ~ ,20
Came to hand on the _ID_                                        at ~o'clock L.m., and executed in
                                                             {5 ,                                          ~~ County, Texas by delivering to WARREN
                                                                                                               b
TRANSPORTATION, LLC in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS' ORIGINAL PETITION WITH ATTACHED
DISCOVERY with the date and service at the following times and places to-w}t: ~'(.._~_ j        ~               ,
                           J:L'~ LLL- btA,                          .4Pw'~                     ~
Name   Wttr-rtn-I.VAfll1:POffIfI17J'V/ Dateffim£                             _. (/               Place, Co rse and Distance from Courtbouse

       Cla~ J(..Lt:tcJ"                              .Yz.~aJ-l5 /1-·/0,4                         313£ OtK.l.A.Jt!.I1'l±ve."d)a1/.IL'5;rt1 7 5;119
And not executed as to the defendant(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

The diligence used in finding said defendant(s) being:


and the cause or        to execute this process


and the information received as to the whereabouts of said defendant(s) being:


                                             Serving Petition and Copy           $,_ _ __

                                             Total       $   "7<
                                       SWORN TO AND SUBSCRIBED BEFORE ME
                                       ON   TH~Y OF3<M\..Q                 20    J:;
                                         ~k~
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                EXHIBIT “B-7”
                                                                                                               FILED
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                   Page 37 of 106 PageID 506/30/20152:36:40 PM
                                                                                                      JOHN F. WARREN
                                                                                                        COUNTY CLERK
                                                                                                       DALLAS COUNTY




                                             No. CC-lS-0301S-C

 MATTHEW R. MCCORMICK,                                 §      IN THE COUNTY COURT
 DENVAN BENTLEY,                                       §
 MARTIN R. STEWART                                     §
 SPENCER L. POLLARD,                                   §
 LEE R. SPIELMAN, AND                                  §
 GARRETT STEVENSON,                                    §
 PLAINTIFFS                                            §
                                                       §
                                                       §
 VS.                                                   §          AT LAW NO. 3
                                                       §
                                                       §
 RICHARD C. PAYNE, BRETT C.                            §
 BRAYTON AND WARREN                                    §
 TRANSPORTATION, LLC.,                                 §
 WARREN TRANSPORT, INC.                                §
 DEFENDANT                                             §     DALLAS COUNTY, TEXAS


       PLAINTIFFS' FIRST AMENDED PETITION WITH ATTACHED DISCOVERY


 TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COME, DENVAN BENTLEY, MARTIN R. STEWART, MATTHEW R.

 MCCORMICK, SPENCER L. POLLARD, LEE R. SPIELMAN, AND STEVENSON G.

 WAYNE, hereinafter called Plaintiffs, complaining of and about, RICHARD C. CARVEL,

 BRETT C. BRAYTON, WARREN TRANSPORTATION, LLC., AND/OR WARREN

 TRANSPORT, INC., hereinafter called Defendants, and would respectfully show unto the Court

 the following:

                             DISCOVERY CONTROL PLAN LEVEL

        1.        Plaintiffs intend that discovery be conducted under Discovery Level 2. Plaintiffs

                  are currently seeking damages in excess of $ 100,000.00.




PLAINTIFFS' FIRST AMENDED PETITION WITH ATTAHCED DISCOVERY
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                               PARTIES AND SERVICE

      2.    Plaintiff, DENVAN BENTLEY, is an individual whose address is 2109 Antonio

            Drive Avon, NY 19919. The last three digits of his social security number are

            616.

      3.    Plaintiff, MARTIN R. STEWART, is an individual whose address is 5727

            Camellia Avenue #103 N. Hollywood, CA 91601. The last three digits of his

            social security number are 674.

      4.    Plaintiff, MATTHEW R. MCCORMICK, is an individual whose address is 20

            Fairview Avenue Corte Madra, CA 94925. The last three digits of his social

            security number are 228.

      5.    Plaintiff, SPENCER L. POLLARD, is an individual whose address is 548 South

            Springs #812 Los Angeles, CA 90013. The last three digits of his social security

            number are 057.

      6.    Plaintiff, LEE R. SPIELMAN, is an individual whose address is 931 E. Pi co

            Boulevard #225 Los· Angeles, CA 90021. The last three digits of his social

            security number are 638.

      7.    Plaintiff, GARRETT STEVENSON, is an individual whose address is 237

            Colombia Place. Los Angeles, CA 90026. The last three digits of his social

            security number are 716.




PLAINTIFFS' FIRST AMENDED PETITION WITH ATTAHCED DISCOVERY
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      8.    Defendant, RICHARD C. PAYNE, an individual who is a resident of Texas,

            may be served with process at his home at the following address: 6602

            MARQUETT DR, ROWLETT, TX 75089-3864. Defendant will be served

            with process via private process server at the above address or wherever he may

            be found.

      9.    Defendant, BRETT C. BRAYTON, an individual who is a resident of Texas,

            may be served with process at his home at the following address: 917 S

            .KENNEDY AVE TRLR 14, MADRID, IA 50156-9642. Defendant will be

            served with process via private process server at the above address or wherever he

            may be found.

      10.   Defendant, WARREN TRANSPORTATION, LLC. is a corporation that has

            been served with citation and has not filed an answer within.

      11.   Defendant, WARREN TRANSPORT, INC., is a foreign for-profit corporation

            that may be served through its registered agent Kenneth R. Nelson at: 319 Pinto

            Valley Drive, Laredo, TX 78045.

                              JURISDICTION AND VENUE

      12.   The subject matter in controversy is within the jurisdictional limits of this court.

      13.   This court has jurisdiction over Defendant because Defendant is a resident of the

            State of Texas.

      14.   Venue in Dallas County is proper in this cause under Section 15.002(a) (1) of the

            Texas Civil Practice and Remedies Code because al1 or a substantial part of the

            events or omissions giving rise to this lawsuit occurred in this county.



PLAINTIFFS' FIRST AMENDED PETITION WITH ATT AHCED DISCOVERY
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                                                 MISNOMER

       IS.   Plaintiffs plead the doctrine of misnomer if any of the Defendants are incorrectly

             named or spelled. It is Plaintiffs intention to name the Defendant trucking

             company that is responsible for this motor vehicle collision and the truck driver

             that was operating the vehicle that collided with Plaintiffs as Defendants in this

             lawsuit.

                                                    FACTS

      16.    On or about December II, 2013, Plaintiff MATTHEW R. MCCORMICK was

             operating a motor vehicle in McKinney, Texas. Plaintiffs DENVAN BENTLEY,

             MARTIN R. STEWART, SPENCER L. POLLARD, LEE R. SPIELMAN, AND

             GARRETT STEVENSON were passengers in the motor vehicle conducted by

             Plaintiff MATTHEW R. MCCORMICK. Defendant RICHARD C. PAYNE was

             also operating a motor vehicle in McKinney, Texas. Defendant BRETT C.

             BRAYTON, while in the scope of employment of Defendant WARREN

             TRANSPORT, Inc., was also operating a motor vehicle in McKinney, Texas.

      17.    Plaintiffs were in a van and were traveling northbound on 1-75 in the left lane.

             Due to traffic coming to a stop ahead, Plaintiff MATTHEW R. MCCORMICK

             came to a normal stop on the highway. Plaintiff had been stopped for about 30

             seconds when Defendant RICHARD C. PAYNE failed to control his speed and

             pay proper attention and collided into the rear of Plaintiffs' vehicle.

      18.    Plaintiffs' vehicle was immediately rear-ended a second time when Defendant

             BRETT C. BRAYTON failed to control his vehicle and collided against

             Defendant RICHARD C. PAYNE's vehicle, causing a second impact against



PLAINTIFFS' FIRST AMENDED PETITION WITH ATT AHCED DISCOVERY
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            Plaintiffs' vehicle. Due to this second impact, Plaintiffs' vehicle was knocked into

            the vehicle in front of them.

                PLAINTIFFS' CLAIM OF NEGLIGENCE AGAINST
                      DEFENDANT RICHARD C. PAYNE

      1.    Defendant RICHARD C. PAYNE had a duty to exercise the degree of care that a

            reasonably prudent and/or careful person would use to avoid harm to others under

            circumstances similar to those described herein.

      2.    Plaintiffs' injuries were proximately caused by Defendant's negligent, careless

            and reckless disregard of said duty.

      3.    The negligent, careless and reckless disregard of duty of Defendant RICHARD C.

            PAYNE consisted of, but is not limited to, the following acts and omissions:

                   A.      In that Defendant RICHARD C. PAYNE failed to keep a proper
                           lookout as a person of ordinary prudence would have kept under
                           the same or similar circumstances;

                   B.      In that Defendant RICHARD C. PAYNE was not           adequately
                           paying attention to his surroundings;

                   C.      In that Defendant RICHARD C. PAYNE failed to         timely apply
                           his brakes;

                   D.      In that Defendant RICHARD C. PAYNE failed to maintain such
                           distance away from Plaintiff s vehicle as a person using ordinary
                           prudent care would have done;

                   E.      In that Defendant RICHARD C. PAYNE took either faulty or          no
                           evasive action.

                   F.      In that Defendant RICHARD C. PAYNE failed to         avoid the
                           accident or warn Plaintiffs; and,

                   G.      In that Defendant RICHARD C. PAYNE violated          section
                           545.062 of the Texas Transportation Code.




PLAINTIFFS' FIRST AMENDED PETITION WITH ATT AHCED DISCOVERY
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                PLAINTIFFS' CLAIM OF NEGLIGENCE AGAINST
                      DEFENDANT BRETT C. BRAYTON

      4.    Defendant BRETT C. BRAYTON had a duty to exercise the degree of care that a

            reasonably prudent and/or careful person would use to avoid harm to others under

            circumstances similar to those described herein.

      5.    Plaintiffs' injuries were proximately caused by Defendant's negligent, careless

            and reckless disregard of said duty.

      6.    The negligent, careless and reckless disregard of duty of Defendant BRETT C.

            BRAYTON consisted of, but is not limited to, the following acts and omissions:

                   A.      In that Defendant BRETT C. BRAYTON failed to keep a proper
                           lookout as a person of ordinary prudence would have kept under
                           the same or similar circumstances;

                   B.      In that Defendant BRETT C. BRAYTON was not adequately
                           paying attention to his surroundings;

                   C.      In that Defendant BRETT C. BRAYTON failed to timely apply his
                           brakes;

                   D.      In that Defendant BRETT C. BRAYTON failed to maintain such
                           distance away from Plaintiff s vehicle as a person using ordinary
                           prudent care would have done;

                   E.      In that Defendant BRETT C. BRAYTON took either faulty or      no
                           evasive action.

                   F.      In that Defendant BRETT C. BRAYTON failed to avoid the
                           accident or warn Plaintiffs; and,


                   G.      In that Defendant BRETT C. BRAYTON violated section
                           545.062 of the Texas Transportation Code.




PLAINTIFFS' FIRST AMENDED PETITION WITH ATT AHCED DISCOVERY
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            NEGLIGENT ENTRUSTMENT OF WARREN TRANSPORT, INC.

      18.    The conduct of Defendant, WARREN TRANSPORT, INC., by negligently

             entrusting the vehicle to Defendant, BRETT C. BRAYTON, was the proximate

             cause of Plaintiffs damages in the following acts of negligence, to wit:

                      A. Defendant, WARREN TRANSPORT INC., knew or should have
                         known that Defendant, BRETT C. BRAYTON, by a preponderance
                         of the evidence, was a reckless or incompetent driver.

                      B. Defendant, WARREN TRANSPORT INC., should have used ordinary
                          care knowing that Defendant, BRETT C. BRAYTON, was an
                          incompetent driver, and denied the use of such vehicle to BRETT
                          C. BRAYTON, who subsequently caused the accident, which was
                          the proximate cause of the injuries and damages sustained by
                          Plaintiffs.


                      C. Defendant, WARREN TRANSPORT, INC., through acts of negligence
                         or gross negligence, placed the Plaintiffs, and the general publics,
                         safety at jeopardy and is liable for the harm suffered by the
                         Plaintiffs. Defendants are jointly and severally liable for all
                         Plaintiffs injuries.


                                   RESPONDEAT SUPERIOR

      19.    At the time of the accident Defendant, BRETT C. BRAYTON was the agent,

             servant, and employee of defendant, WARREN TRANSPORT INC., and was

             acting within the scope of his authority as such agent, servant and employee.


                                 DAMAGES FOR PLAINTIFFS

      20.    As a direct and proximate result of the occUrrence made the basis of this lawsuit, Plaintiffs were

             caused to suffer physical injuries, and to incur the following damages:




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                     A.     Reasonable medical care and expenses in the past. These expenses
                            were incurred by the Plaintiffs for the necessary care and treatment
                            of the injuries resulting from the accident complained of herein,
                            and such charges are reasonable and were usual and customary
                            charges for such services;

                     B.     Reasonable and necessary medical care and expenses that,          III
                            reasonable probability, will be incurred in the future;

                     C.     Physical pain and suffering in the past;

                     D.     Physical pain and suffering that, in reasonable probability, will be
                            sustained in the future;

                     E.     Physical impairment in the past;

                     F.     Physical impairment that,     III   reasonable probability, will be
                            sustained in the future;

                     G.     Mental anguish in the past;

                     H.     Mental anguish that, in reasonable probability, will be sustained in
                            the future;

                     1.     Loss of wages in the past;

                     J.     Loss of earning capacity that, in reasonable probability, will be
                            sustained in the future; and,

                     K.     Property damage, diminution in value, and loss of use.

                              REQUEST FOR DISCLOSURE
      21.    Pursuant to Texas Rule of Civil Procedure 194.2, you are hereby requestedto

      respond within 50 days of service of this request with information and      materials

      specified under Texas Rule of Civil Procedure 194.2 (a) - (1).


        DOCUMENT PRODUCTION/ SPOLIATION TO ALL DEFENDANTS

      22.    Plaintiffs request that all Defendants, Defendants' attorneys, and Defendants'
      insurance carrier, preserve all documents and evidence related to this car wreck,
      including all photographs, estimates and statements taken in connection with Defendants
      and Defendants' insurance carrier's investigation of this wreck.


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      23.     Pursuant to Texas Rule of Civil Procedure 196, Plaintiffs demand Defendants to
      respond and produce to the undersigned counsel within fifty (50) days of service of this
      petition all documents related to the wreck that are in the care, control and/or possession
      of Defendants, Defendants; insurance carrier and Defendant's attorney, including but not
      limited to the following docmnents:

                     1.     All photographs (produce color photos) of the vehicles involved in
                            this wreck;

                     2.     All property damage and/or repair estimates of the vehicles
                            involved in this wreck;

                     3.     If the vehicles were totaled, all documents used or relied upon in
                            making or accessing the value of the vehicle( s) that were declared
                            total losses;

                     4.     All recorded statements taken in connection with the investigation
                            of this wreck (Plaintiff requests an actual audio or video copy of
                            the statement);

                     5.     A copy of the title to Defendant's vehicle that was involved in
                            the motor vehicle wreck made the basis of this suit;

                     6.     A copy of the title to Defendant's vehicle;

                     7.     A copy of Defendant's driver's license;

                     8.     All documents related to any investigation that was done by a
                            police, sheriff, highway patrol or any other governmental body
                            that is in the care, custody or control of Defendants, Defendants'
                            attorney or Defendants' insurance carrier. This is a simple request
                            for a copy of the police report or police incident report that is in
                            Defendants' possession or control;

                     9.     All documents that Defendants intends to offer at trial in support
                            of any claim or contention in this matter;

                     10.    All receipts/invoices are documents evidencing what Defendants
                            had to eat or drink (including alcoholic beverages) on the date of
                            the incident made the basis of this lawsuit;

                     11.    All documents evidencing where Defendants had been on the date
                            of the collision in question.

                     12.    All documents that Defendants have regarding the motor vehicle
                            wreck that forms the basis of this suit;


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                    13.    All contracts of employment evidencing who any Defendants
                           employer was at the time of the wreck that forms the basis of this
                           suit.

                    14.    Any pre-employment questionnaire or other documents secured
                           from any Defendant's driver that was involved in this wreck made
                           the basis of this lawsuit prior to employment.

                    15.    Any and all applications for employment completed by any
                           Defendant's driver that was involved in this wreck made the basis
                           of this lawsuit.

                    16.    A copy of any document generated or received as a result of any
                           Defendants' inquiry into the driving record of any Defendant's
                           driver that was involved in this wreck made the basis of this
                           lawsuit.

                   17.     All paychecks or pay stubs for BRETT C. BRAYTON JR.
                           between December 1,2013 and January 1,2014.

                   18.     All documents regarding the training that was provided to
                           Defendant BRETT C. BRAYTON by his employer;

                   19.     All documents provided to Defendant BRETT C. BRAYTON
                           regarding how he was suppose to do or perform his job.

                   20.     Pursuant to Texas Rule of Evidence 609(f), any documents or
                           evidence of a conviction of any party to this lawsuit.

                   21.     All phone, text, and data usage records from any Defendant's cell
                           phone, or any other cell phone in Defendant's possession, even if
                           provided to any Defendant by an employer, friend or family
                           member, for the entirety of the date of the acCident made the basis
                           of this lawsuit.

                      INTERROGATORIES TO DEFENDANTS

      24.   Pursuant to Texas Rule of Civil Procedure 197, demand is now made for

            Defendants to respond to the undersigned counsel within fifty (50) days of service

            of this petition with written answers to the following interrogatories:




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                  1.    Please state the full name, address, telephone number, date of birth,
                        driver's license number, social security number, and occupation of
                        the person answering these interrogatories.

                  2.    State whether you, the truck driver involved in this wreck made the
                        basis of this lawsuit, were acting within the course and scope of
                        any employment, service or agency at the time of the collision, and
                        describe the relationship of the persons involved.

                  3.    State the Style, Court and Cause number of any lawsuit you have
                        been a party to and the final disposition of said suit.

                  4.    Do you, your attorneys or investigators or anyone acting on your
                        behalf, have any maps, charts, diagrams, photographs, videos,
                        motion pictures, and/or recordings taken of the scene of this
                        incident, or of any of the physical or mechanical objects, or of the
                        person involved in this incident? If yes, then please indicate your
                        willingness to allow the Plaintiffs' counsel in this lawsuit to
                        inspect and copy or photograph the same.

                  5.    Do you contend that any personal injuries or damages sustained by
                        any Plaintiff in this suit were caused by an occurrence other than
                        this accident, such as a disease or physical condition, either before
                        or after the incidents made the basis of this case? If so, describe in
                        detail such other occurrence, disease, injury or condition.

                  6.    If you obtained any medical attention as a result of any injuries you
                        sustained in this wreck, please state the name of the medical
                        provider( s) who treated you, the type of medical treatment you
                        received (i.e., physical therapy, MRIs, etc.), the timeframe for
                        which you obtained medical treatment and list the body parts that
                        you injured as a result of this motor vehicle wreck.

                  7.    Do you contend that any Plaintiff in this suit violated any traffic
                        laws at the time or immediately prior to the collision? If so,
                        describe what you contend to be the violation or give the statute
                        number of the violation.

                  8.    If you contend that the collision in question was an "unavoidable
                        accident," describe in detail what you believe to be the cause of the
                        accident, to the exclusion of the conduct of the Plaintiffs or you.




PLAINTIFFS' FIRST AMENDED PETITION WITH ATT AHCED DISCOVERY
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                   9.       If you contend that someone else's conduct or something else is the
                            "sole proximate cause" of the accident in question, describe in
                            detail the identity of that person, or what exactly caused the
                            collision.

                   10.      Please describe how the wreck occurred, including the directions
                            of travel, the speed of the respective vehicles, and why you
                            contend this wreck occurred.

                   11.    Who gave you permission to operate the vehicle that you
                          were traveling in when this wreck occurred?

                  12.     When did you first receive permission to operate the
                          vehicle that you were operating when this wreck occurred?

                  13.     How often did you drive the vehicle that you were
                          traveling in when this wreck occurred?

                 REQUEST FOR ADMISSIONS TO DEFENDANTS

      25.   Pursuant to Texas Rule of Civil Procedure 198, demand is now made upon

            Defendants to     respond to the undersigned counsel within fifty (50) days of

            service of this petition with written responses to the following Request for

            Admissions:

                   1.       Admit to the jury that you have been properly named in the above
                            entitled and numbered cause.
                  2.        Admit to the jury that you have been properly served with citation
                            in the above entitled and numbered cause.
                  3.        Admit that the collision made the basis of this suit was not the
                            result of a sudden emergency.
                  4.        Admit that the collision made the basis of this suit did not result
                            from an unavoidable accident.
                  5.        Admit that there was no non-human event or condition that
                            contributed to the collision made the basis of this suit.
                  6.        Admit that there was no non-human event or condition that was
                            the sole cause of the collision made the basis of this suit.
                  7.        Admit that the collision made the basis of this suit was proximately
                            caused, at least in part, by your negligence.



PLAINTIFFS' FIRST AMENDED PETITION WITH ATTAHCED DISCOVERY
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                    8.      Admit· to the jury your negligence was the sole cause of the
                            collision made the basis of this lawsuit.

                    9.      Admit to the jury that you failed to exercise ordinary care in the
                            operation of your motor vehicle in the collision made the basis of
                            this lawsuit.

                    10.     Admit that collision made the basis of this suit did not occur
                            because of the negligence of Plaintiff.

                    11.     Admit that any of Plaintiff did not fail to act as a person of
                            ordinary prudence would have done under the same or similar
                            circumstances in the collision made the basis of this suit.

                    12.     Admit that your vehicle struck Plaintiff's vehicle in the collision
                            made the basis of this suit.

                    13.     Admit that you accept full responsibility for the collision made the
                            basis of this suit.

                    14.     Admit that you were under employment by WARREN
                            TRANSPORT, INC., when the collision occurred.

                    15.     Admit that you were operating WARREN TRANSPORT, INC.,'s
                            truck in the course and scope of your employment with the
                            company.

                                  NOTICE OF STATUTE

      26.   Plaintiffs hereby also provide notice of his intent to use the Sections 552.003 and

            550.021 (a) of the Texas Transportation Code. Plaintiffs request the court to take

            judicial notice of this statue.

                          NOTICE PURSUANT TO TRCP 193.7

            NOTICE IS HEREBY GIVEN that pursuant to Rule 193.7 of the Texas Rules of

            Civil Procedure, Counsel for Plaintiffs intends to use Defendant's discovery

            responses and any documents produced in discovery in the trial of this cause of

            action and/or any hearings before the CO\lrt herein.




PLAINTIFFS' FIRST AMENDED PETITION WITH ATT AHCED DISCOVERY
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                                              PRAYER

        WHEREFORE, PREMISES. CONSIDERED, Plaintiffs respectfully pray that the

 Defendants be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for the Plaintiffs against Defendants for damages in an amount within the

jurisdictional limits of the Court; together with pre-judgment interest (from the date of injury

 through the date of judgment) at the maximum rate allowed by law;       post-j~dgment   interest at the

 legal rate, costs of court; and such other and further relief to which Plaintiffs may be entitled at

 law or in equity.


                                               McKEy & SANCHEZ, P.C.




                                               Craig W. Thomas
                                               State Bar No. 24048047
                                               craig@972lawfirrn.com
                                               Jeremy W. McKey
                                               State Bar No. 24053353
                                               jeremy@972lawfirm.com
                                               1349 Empire Central, Ste. 700
                                               Dallas, TX 75247
                                               (972) LAW-FIRM
                                               (972) 529-3476 Phone / Fax

                                               ATTORNEYS FOR PLAINTIFFS

                                 CERTIFICATE OF SERVICE

                No Certificate of Service is necessary at this time.




PLAINTIFFS' FIRST AMENDED PETITION WITH ATT AHCED DISCOVERY
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                                                                                                                                           ATTORNEY
                                   THE STATE OF TEXAS                                                                                      CITATION
                                       CITATION                                                                                  PLAINTIFF'S FIRST AMENDED
                                                                                                                                  PETITION WITH ATTACHED
                                     CAUSE NO. CC-lS-03015-C
                                   COUNTY COURT AT LAW NO. 3                                                                             DISCOVERY
                                        Dallas County, Texas                                                                             CC-l 5-0301 5-C
TO:                                                                                                                              IN THE COUNTY COURT OF DALLAS
          WARREN TRANSPORT, INC.                                                                                                       County Court at Law No.3
          SERVE ITS REGISTERED AGENT:KENNETH R NELSON                                                                                  Dallas County. Texas
          319 PINTO VALLEY DRIVE
          LAREDO TX 78045                                                                                                       MATfHEW R. MCCORMICK; DENVAN
                                                                                                                                BENTLEY; SPENCER L. POLLARD; LEE
                                                                                                                                R. SPIELMAN; GARRETT STEVENSON;
                                                                                                                                   MARTIN R STEWART, PlIlintiff(s)
       "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN ANSWER with
       the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you                     VS.
       were served this citation and PLAINTIFF'S FIRST AMENDED PETITION WITH ATTACHED DISCOVERY, a default                         RICHARD C. PAYNE; BRETT C.
       judgment may be taken against you." Your answer should be addressed to the clerk of County Court at Law No.3 of                 BRAYTON; WARREN
       Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.               TRANSPORTATION, LLC; WARREN
                                                                                                                                    TRANSPORT, INC., Dejendont(s)

                                                                                                                               SERVE:
      MATTHEW R. MCCORMICK; DENVAN BENTLEY; SPENCER L. POLLARD; LEE R. SPIELMAN;                                                    WARREN TRANSPORT, INC.
                       GARRETT STEVENSON; MARTIN R STEWART                                                                        SERVE ITS REGISTERED AGENT
                                     Plaintifl(s)                                                                                     KENNETH R NELSON
                                       VS.                                                                                          319 PINTO VALLEY DRIVE .
                                                                                                                                        LAREDO TX 78045
             RICHARD C. PAYNE; BRETT C. BRAYTON; WARREN TRANSPORTATION, LLC
                                         De!endant(s)                                                                                       ISSUED THIS
                                                                                                                                        1st day of July, 2015
        filed in said Court on the 30th day of June, 20 15a copy of which accompanies this citation.                                John F. Warren, County Clerk
                                                                                                                                    By: Guisla Hernandez, Deputy
       WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
       HAND AND SEAL OF OFFICE, at Dallas, Texas, and ~ssued this 1st day of July, 2015 A.D.                                            Attorney for Plaintiff
                                                                                                                                        CRAIG W THOMAS
                                                                                                                                     MCKEY & SANCHEZ PC
                                                                                                                                  1349 EMPIRE CENTRAL DRIVE
                                                                                                                                             SUITE 700
                                                                                                                                        DALLAS TX 75247
                                                                                                                                           972-529-3476

                                                                                                                                    NO OFfICER'S FEes HAVE BEEN
                                                                                                                                 COU.ECTED BY DAltJ>5 COUNTY CLEl{K
                                Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                 Page 53 of 106 PageID 66

                                                                           OFFICER'S RETURN

CC-lS-030IS-C County Court at Law No.3

MATTHEW R. MCCORMICK, DENVAN BENTLEY, SPENCER L. POLLARD.et al VS. RICHARD C. PAYNE, BRETT C. BRAYTON, WARREN TRANSPORTA TION,
LLC

ADDRESS FOR SERVICE:
SERVE ITS REGISTERED AGENT KENNETH R NELSON
319 PINTO VALLEY DRIVE
LAREDO TX 78045

Fees:
Came to hand on the ___day of                     , 2 0 . at _ _o'clock _ _.m., and executed in                       County, Texas by delivering to WARREN
TRANSPORT, INC. in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S FIRST AMENDED PETITION WITH ATTACHED
DISCOVERY Petition with the date and service at the following times and places to-wit:

Name                                                     Daterrime                      Place, Course and Distance from Courthouse



And not executed as to the defendant(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-,-__- - - - - - - - - - - - - - - -

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the infonnation received as to the whereabouts of said defendant(s)·being:


                                               Serving Petition and Copy         $      _______________                        ,Offi~r


                                                                                 ----
                                               Total     $._ _ __                       _ _ _ _ _ _ _ _ _ _-', County, Texas

                                                                                        By:.________~--__------_,Deputy
                                                                                        _ _ _ _ _ _ _ _ _ _ _ _ _, Affiant
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 54 of 106 PageID 67




                EXHIBIT “B-9”
                                                                                                                   FILED
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                        Page 55 of 106 PageID 687/10/20155:02:55 PM
                                                                                                          JOHN F. WARREN
                                                                                                            COUNTY CLERK
                                       CAUSE NO. CC-1S-0301S-C                                             DALLAS COUNTY


MATTHEW R. MCCORMICK,                                     §    IN THE COUNTY COURT
DENVAN BENTLEY, MARTIN R.                                 §
STEWART, SPENCER L. POLLARD,                              §
LEE R. SPIELMAN, AND GARRETT                              §
STEVENSON                                                 §
                                                          §
V.                                                        §    AT LAW NO. 3
                                                          §
                                                          §
RICHARD C. PAYNE, BRETT C.                                §
BRA YTON AND WARREN                                       §
TRANSPORTATION, LLC                                       §    DALLAS COUNTY, TEXAS

                    DEFENDANT RICHARD C. PAYNE'S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

             COMES NOW, Richard C. Payne, and files this his Original Answer to Plaintiffs' Original

Petition and would respectfully show the Court as follows:

                                                RULE 193.7

                                                         I.
             Pursuant to Rule 193.7 ofthe Texas Rules of Civil Procedure, Defendant hereby gives notice

to the Plaintiff that Defendant intends to use all documents exchanged and produced between the

parties (including, but not limited to, correspondence, pleadings, records and discovery responses)

during the trial of this matter as authenticated.

                                         SPECIAL EXCEPTIONS

                                                     II.

             Defendant specially objects and excepts to Paragraph 20. of Plaintiffs' Original Petition

wherein Plaintiffs allege:

             "Physical pain and suffering in the past"

             "Physical pain and suffering... in the future"




DEFENDANT'S ORIGINAL ANSWER -               Page 1
S/O I 382/jmurray
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                        Page 56 of 106 PageID 69



             Rule S6 of the TEXAS RULES OF CIVIL PROCEDURE requires that when an item of special

damages is claimed, it shall be specifically stated. Therefore, Plaintiffs should be required to

plead facts sufficient to put Defendant on notice of what physical pain and suffering Plaintiffs are

claiming, including the kind, character, nature and extent of such claims. Further, Plaintiffs

should be required to state what physical pain and suffering the Plaintiffs anticipate suffering in

the future. Should Plaintiffs fail andlor refuse to so amend their Petition, the above-referenced

allegations should be automatically stricken in their entirety and all relief supported by the same

automatically denied.

                                                     III.

             Defendant specially objects and excepts to Paragraph 20. of Plaintiffs' Original Petition

wherein Plaintiffs allege:

             "Reasonable medical care and expenses in the past."

             "Reasonable and necessary medical care and expenses... in the future"

             Rule 56 of the TEXAS RULES OF CIVIL PROCEDURE requires that when an item of special

damages is claimed, it shall be specifically stated. Therefore, Plaintiffs should be required to

state the name of each health care provider andlor physician who treated them for injuries

allegedly suffered as a result of the incident made the basis of this suit, 'and the amount paid to or

owed to such health care providers andlor physicians. Further, Plaintiffs should be required to

state the amount of medical expenses they anticipate incurring in the future. Should Plaintiffs

fail andlor refuse to so amend their Petition, the above-referenced allegations should be

automatically stricken in their entirety and all relief supported by the same automatically denied.

                                                     IV.

             Defendant specially objects and excepts to Paragraph 20. of Plaintiffs' Original Petition

wherein Plaintiffs allege:


DEFENDANT'S ORIGINAL ANSWER - Page 2
8/01 382/jrnurray
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                       Page 57 of 106 PageID 70


            "Physical impairment in the past"

            "Physical impairment. .. in the future"

             Rule 56 of the TEXAS RULES OF CIVIL PROCEDURE requires that when an item of special

damages is claimed, it shall be specifically stated. Therefore, Plaintiffs should be required to

plead facts sufficient to put Defendant on notice of what physical impairment Plaintiffs are

claiming, including the kind, character, nature and extent of such claims. Further, Plaintiffs

should be required to state what physical impairment the Plaintiffs anticipate suffering in the

future. Should Plaintiffs fail and/or refuse to so amend their Petition, the above-referenced

allegations should be automatically stricken in their entirety and all relief supported by the same

automatically denied.

                                                      v.
            Defendant specially objects and excepts to Paragraph 20. of Plaintiffs' Original Petition

wherein Plaintiffs allege:

            "Mental anguish in the past"

            "Mental anguish ... in the future"

            Rule 56 of the TEXAS RULES OF CIVIL PROCEDURE requires that when an item of special

damages is claimed, it shall be specifically stated. Therefore, Plaintiffs should be required to

plead facts sufficient to put Defendant on notice of what mental anguish Plaintiffs are claiming,

including the· kind, character, nature and extent of such claims. Further, Plaintiffs should be

required to state what mental anguish the Plaintiffs anticipate suffering in the future. Should

Plaintiffs fail and/or refuse to so amend their Petition, the above-referenced allegations should be

automatically stricken in their entirety and all relief supported by the same automatically denied.




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S/O I382/jmurray
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                                                      VI.

              Defendant specially objects and excepts to Paragraph 20. of Plaintiffs' Original Petition

wherein Plaintiffs allege:

             "Loss of wages in the past"

             "Loss of earning capacity ... in the future"

             Rule 56 of the TEXAS RULES OF CIVIL PROCEDURE requires that when an item of special

damages is claimed, it shall be specifically stated. Therefore, Plaintiffs should be required to

state the amount of earnings which they allegedly lost as a result of the incident made the basis of

this suit. Further, Plaintiffs should be required to state the amount of earning capacity they

anticipate they will lose in the future. Should Plaintiffs fail and/or refuse to so amend their

Petition, the above-referenced allegations should be automatically stricken in their entirety and .

all relief supported by the same automatically denied.

                                                      VII.

             Defendant specially objects and excepts to Paragraph 20. of Plaintiffs' Original Petition

wherein Plaintiffs allege:

             "Property damage, diminution in value and loss of use"

             Rule 56 of the TEXAS RULES OF CIVIL PROCEDURE requires that when items of special

damages are claimed, they shall be specifically stated. Therefore, Plaintiffs should be required to

plead their damages for each element with specificity. Should Plaintiffs fail and/or refuse to so

amend their Petition, the above-referenced allegations should be automatically stricken in their

entirety and all relief supported by the same automatically denied.




DEFENDANT'S ORIGINAL ANSWER -                Page 4
S/O I382/jmllITay
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                        Page 59 of 106 PageID 72


                                      AFFIRMATIVE DEFENSES

                                                    VIII.

            Defendant further specifically invokes §41.0105, Tex. Civ. Prac. & Rem. Code, which

provides that recovery of medical or health care expenses incurred are limited to the amount

actually paid or incurred by or on behalf of Plaintiffs.

                                                     IX.

            Defendant further alleges that Plaintiffs' claims for pre-judgment and post-judgment

interest are limited by the dates and amounts set forth in Article 5069-1.05, § 6, TEXAS REVISED

CIVIL STATUTES.

                                           GENERAL DENIAL

                                                     X.
            Defendant Richard C. Payne, denies all and singular the material allegations of fact

contained in Plaintiffs' Original Petition and demands strict proof thereof by a preponderance of

the evidence, pursuant to Rule 92 of the TEXAS RULE OF CIVn... PROCEDURE.

                                             JURY DEMAND

                                                    XI.

            Defendant respectfully demands a trial by jury with respect to any and all issues of fact.

            WHEREFORE, PREMISES CONSIDERED, Defendant prays that, upon trial hereof,

Plaintiffs take nothing, that Defendant go hence without day and recover his costs, and for such

other and further relief. at law or at equity, to which he may be justly entitled.




DEFENDANT'S ORIGINAL ANSWER - Page 5
S/O I382/jmurray
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                   Page 60 of 106 PageID 73


                                                      Respectfully submitted,

                                                      THE LECRONE LAW FIRM, PC
                                                      Wall Street Plaza
                                                      123 North Crockett Street, Suite 200
                                                      Sherman, Texas 75090
                                                      Tel:   903.813.1900
                                                      Fax: 903       .1944

                                                By:
                                                      ADAM B. LECRONE
                                                      State Bar No. 00786447
                                                      JOHN W. BREEZE
                                                      State Bar No. 00796248
                                                      MARK A. TEAGUE
                                                      State Bar No. 24003039
                                                      T. RYAN JOHNSON
                                                      State Bar No. 24063959
                                                      HILLARY L. CLARK
                                                      State Bar No. 24077714
                                                      MICHAEL S. KELLY
                                                      State Bar No. 24055767
                                                      CLINT B. SLOAN
                                                      State Bar No. 24093163
                                                      eservice@lecronelaw.com

                                                      ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and co            of the above and foregoing instrument has
been forwarded on this --If)-      day of-IrR--c.e-_-Jf-_:' 2015, to the following counsel:

Mr. Craig W. Thomas
McKEY & SANCHEZ, P.C.
1349 Empire Central, Suite 700
Dallas, Texas 75247
Tel: 972.529.3476
Fax: 972.529.3476

                                                                     ADAM B. LECRONE




DEFENDANT'S ORIGINAL ANSWER -          Page 6
S/O I382/jmurray
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               EXHIBIT “B-10”
                                                                                                                                           FILED
        Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                Page 62 of 106 PageID 757/10/20155:02:55 PM
                                                                                                                               JOHN F. WARREN
                                                                                                                                 COUNTY CLERK
                                                                                                                                DALLAS COUNTY
                                                   the


Adam B. LeCrone* t
John W. Breeze"
Mark A. Teague"
                                       I!!         LeCrone law firm, pc
                                                   attorneys and counselors

                                              OFFICES IN SHERMAN & McKINNEY
                                                                                                         "Licensed in the State of Texas
                                                                                                              and the State of Oklahoma
T. Ryan Johnson"
Laura Denning LeCrone*                                                                                        Sherman: 903.B13.1900
Hillary Luckett Clark                                    July 10,2015                                         McKinney: 214.785.6750
Michael S. Kelly
Clinton B. Sloan"

         Mr. John F. Warren
         DALLAS COUNTY CLERK
         Records Building, 2nd Floor
         509 Main Street                            CC-15-03015-C
         Dallas, Texas 75202-3513

                    Re:     Matthew R. McCormick, Denvan Bentley, Martin R. Stewart, Spencer L. Pollard, Lee
                            R. Spielman, and Garrett Stevenson v. Richard C. Payne, Brett C. Brayton, and
                            Warren Transportation, LLC
                            Cause Number                    CC-15-0301S-C
                            Claim Number                    43-3N94-813
                            Our File Number                 10001-00000

         Dear Clerk:

                In order to comply with Local Rules and to notify the Court in a timely manner, I wish to
         advise that I am scheduled to be out of the office on either vacation or CLE (Continuing Legal
         Education) training on the following dates:

                            August 3 through 13, 2015;
                            September 4 through 8, 2015;
                            November 25 througb December 1, 2015;
                            December 23, 2015 through January 8, 2016.

                 By copy of this letter I am advising all counsel of record of my schedule and requesting that
         no hearings, motions, depositions or other matters be scheduled during the above-stated dates. Please
         return a file-marked copy of same to my office.

                 Thank you for your cooperation in this matter. If you have any questions, please do not
         hesitate to contact me.

                                                                                  Very truly yours,



                                                                                  Adam B. LeCrone
         cc:

        Ijrnurray
                    Mr. Craig Thomas

                                                   t .     .
                                                           Martlndale-Hubboll"
                                                           Peer Review Rated;
                                                           '''~~...cJ~IMlllwr,:



                                                                                    I
                          WALL STREET PLAZA 1123 N. CROCKETT STREET 1 SUITE 200 SHERMAN, TEXAS        75090
                                                                            I
                                 TEL: 903.813.19001 FAX: 903.813.1944 WWW.LECRONELAW.COM
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 63 of 106 PageID 76




               EXHIBIT “B-11”
                                                                                                                  FILED
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                       Page 64 of 106 PageID 77
                                                                                              7/30/201511 :33:03 AM
                                                                                                         JOHN F. WARREN
                                                                                                           COUNTY CLERK
                                                                                                          DALLAS COUNTY




                                     CAUSE NO.     CC~15-03015-C

MATTHEW R. MCCORMICK,                               §        IN THE COUNTY COURT
DENVAN BENTLEY, MARTIN R.                           §
STEWART, SPENCER L. POLLARD,                        §
LEE R. SPIELMAN, AND GARRETT                        §
STEVENSON                                           §
                                                    §
V.                                                  §            AT LAW NO. 3
                                                    §
                                                    §
RICHARD C. PAYNE, BRETT C.                          §
BRA YTON AND WARREN                                 §
TRANSPORTATION, LLC                                 §        DALLAS COUNTY, TEXAS

   DEFENDANT RICHARD C. PAYNE'S CERTIFICATE OF WRITTEN DISCOVERY


TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, Richard C. Payne, Defendant in the above-entitled and numbered cause, and

files this Certificate of Written Discovery directed to Plaintiffs pursuant to the TEXAS RULES OF

CIVIL PROCEDURE, and states that the discovery set forth below was forwarded to the following party

on the   aq,JP        day of    \JW~Y                   ,2015:

            TO:   Plaintiffs, Matthew R. McConnick, Denvan Bentley, Martin R. Stewart,
                  Spencer L. Pollard, Lee R. Spielman, and Garrett Stevenson, by and through
                  his attorney of record, Mr. Craig W. Thomas, McKEY & SANCHEZ, P.C.,
                  1349 Empire Central, Suite 700, Dallas, Texas 75247.

                                           Discovery Served

            •     Defendant's First Set of Written Interrogatories to Plaintiff, Matthew R. McConnick;
            •     Defendant's First Set of Written Interrogatories to Plaintiff, Denvan Bentley;
            •     Defendant's First Set of Written Interrogatories to Plaintiff, Martin R. Stewart;
            •     Defendant's First Set of Written Interrogatories to Plaintiff, Spencer L. Pollard;
            •     Defendant's First Set of Written Interrogatories to Plaintiff, Lee R. Spielman;
            •     Defendant's First Set of Written Interrogatories to Plaintiff, Garrett Stevenson;
            •     Defendant's First Request for Admissions to Plaintiff, Matthew R. McConnick;
            •     Defendant's First Request for Admissions to Plaintiff, Denvan Bentley;
            •     Defendant's First Request for Admissions to Plaintiff, Martin R. Stewart;
            •     Defendant's First Request for Admissions to Plaintiff, Spencer L. Pollard;
            •     Defendant's First Request for Admissions to Plaintiff, Lee R. Spielman;'

DEFENDANT'S CERTIFICATE OF WRITTEN DISCOVERY - PAGE 1
/jrnurray
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15               Page 65 of 106 PageID 78




      •     Defendant's First Request for Admissions to Plaintiff, Garrett Stevenson;
      •     Defendant's First Request for Production of Documents to Plaintiff, Matthew R.
            McCormick;
      •     Defendant's First Request for Production of Documents to Plaintiff, Denvan Bentley;
      •     Defendant's First Request for Production of Documents to Plaintiff, Martin R.
            Stewart;
      •     Defendant's First Request for Production of Documents to Plaintiff, Spencer L.
            Pollard;
      •     Defendant's First Request for Production of Documents to Plaintiff, Lee R.
            Spielman;
      •     Defendant's First Request for Production of Documents to Plaintiff, Garrett
            Stevenson;
      •     Defendant's Request for Disclosure to Plaintiffs.
                                            Respectfully submitted,

                                           THE LECRONE LA,W FIRM, PC
                                           Wall Street Plaza
                                           123 North Crockett Street, Suite 200
                                           Sherman, Texas 75090
                                           Tel: 903.813.1900
                                           Fax: 903.813.1944


                                           By:
                                                  ADAM B. LECRONE
                                                  State Bar No. 00786447
                                                  JOHN W. BREEZE
                                                  State Bar No. 00796248
                                                  MARK A. TEAGUE
                                                  State Bar No. 24003039
                                                  T. RYAN JOHNSON
                                                  State Bar No. 24063959
                                                  HILLARY L. CLARK '
                                                  State Bar No. 24077714
                                                  MICHAEL S. KELLY
                                                  State Bar No. 24055767
                                                  CLINT B. SLOAN
                                                  State Bar No. 24093163
                                                  eservice@lecronelaw.com

                                           ATTORNEYS FOR DEFENDANT




DEFENDANT'S CERTIFICATE OF WRITTEN DISCOVERY ~ PAGE 2
/jmurray
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                 Page 66 of 106 PageID 79




                                 CERTIFICATE OF SERVICE

       I hereby certifY that a true and correc copy of the above and foregoing document has been
forwarded on this the   d    qr:r day of                            , 2015, to the following;

Mr. Craig W. Thomas
McKEY & SANCHEZ,     P.C.
1349 Empire Central, Suite 700
Dallas, Texas 75247


                                                   ADAM B. LECRONE




DEFENDANT'S CERTIFICATE OF WRITTEN DISCOVERY ~ PAGE 3
Ijmurray
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 67 of 106 PageID 80




               EXHIBIT “B-12”
      Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                Page 68 of 106 PageID 81



                                        Cause No.: CC-15--Q3Q15-C
MATTHEW R MCCORMICK; DENVAN
BENTLEY; SPENCER L. POLLARD;
                                                    §           IN THE COUNTY COURT
LEE R. SPIELMAN; GARRETT
STEVENSON; MARTIN R STEWART.
             Plaintlff(s)                           t
VS                                                  §           AT LAW NO. 3                    -,..
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RICHARD C PAYNE; BRETT C                                                                        CJ1     <=-<;~/"
                                                                                                        %("'»~»
BRAYTON; WARREN                                                                                 .."     ...... :0 0
                                                    §           DALLAS COUNTY, TEXAS            ::c     :<f"l:;c
TRANSPORTATION, LLC; WARREN                                                                             -I:::Oro-
TRANSPORT, INC.                                                                                  ~       rrl~:Z

              Oefendant(s)                          §
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                                                                                                -
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                                                                                                         (I?




   Before me, the undersigned authority, personally appeared CHARLES TERRY TICE who swore under
oath that the foUowing facts are true and correct.

   "My name is CHARLES TERRY TICE. I am a private process server authortzed by the Supreme Court of
Texas. My authorization number is SCH 1230. My expiration date is 07/31/17


   Documents carne to my hand on the 11th day of July, 2015 at 5:00 p.m.

   I delivered in person, a true and correct copy of the Citation wfth the attached P\aintiffs First Amended
Petition With Attached Discovery by delivering to WARREN TRANSPORT, INC., by delivering to the Terminal
Manager, JERRY MALDONADO. authortzed to accept, on July 31,2015 at 11:40 a.m., at 319 Pinto VaBey
Drive, Laredo. Texas 78045 in Webb County, Texas.

   I am not a party to this case nor am I related to, employed by or otherwise connected to any party or any
party's attorney in this case; and I have no Interest In the outcome of this tawsuit. I am over the age of
eighteen (18) years of age. I am of sound mind and have never been convicted of a felony or misdemeanor
invoMng moral turpitude.


                                   Signature

                                   CHARLES TERRY TICE. SCH 1230. OV31/17
                                   Print Name & Authorization # & Expiration Date

   On this day personally appeared CHARLES TERRY, TICE known to me to be the person whose name is
subscribed to the foregoing document and, being by me first duty sworn, dedared under oath that the
statements therein contained are true and co  . Given under my hand and seal of office this 31-': day of
July,2015.

                                   N
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15   Page 69 of 106 PageID 82




               EXHIBIT “B-13”
                             Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                      Page 70 of 106 PageID 83
                                                                                                         .. t.:u
                                                                                                      r~"h
                                                                                            J,oHN f. WARRt It                                 ATTORNEY
                                  THE STATE OF TEXAS                                       ,COUNTY CLERK                                      CITATION
                                                                                        DALLAS COUNTY. TEXAS
                                      CITATION                                                                                       PLAINTIFF'S FIRST AMENDED
                                                                                                                                      PETITION WITH ATTACHED
                                    CAUSE NO. CC-15-03015-C
                                  COUNTY COURT AT LAW NO. 3
                                                                                       1015 AUG -5 PH 12: 21                                 DISCOVERY
                                       Dallas County, Texas                                                                                 CC-15-0301S-C
TO:                                                                                                                                 IN THE COUNTY COURT OF DALLAS
         WARREN TRANSPORT, INC.                                                                                                           County Court at Law No.3
         SERVE ITS REGISTERED AGENT:KENNETH R NELSON                                                                                      Dallas County, Texas
         319 PINTO VALLEY DRIVE
         LAREDO TX 78045                                                                                                            MATTHEW R. MCCORMICK; DENY AN
                                                                                                                                    BENTLEY; SPENCER L. POLLARD; LEE
                                                                                                                                    R. SPIELMAN; GARRETT STEVENSON;
                                                                                                                                       MARTJN R STEWART, Plaintiff(s}
       "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN ANSWER with
       the clerk who issued this citation by ]0:00 A.M. on the Monday next following the expiration of twenty days after you                       VS.
       were served this citation and PLAINTIFF'S FIRST AMENDED PETITION WITH ATTACHED DISCOVERY, a default                             RICHARD C. PAYNE; BRETT C.
       judgment may be taken against you." Your answer should be addressed to the clerk of County Court at Law No.3 of                    BRAYTON; WARREN
       Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                  TRANSPORTATION, LLC; WARREN
                                                                                                                                       TRANSPORT, INC., Defendant(s}

                                                                                                                                  SERVE:
      MATTHEW R. MCCORMICK; DENVAN BENTLEY; SPENCER L. POLLARD; LEE R. SPIELMAN;                                                       WARREN TRANSPORT, INC.
                       GARRETT STEVENSON; MARTIN R STEWART                                                                           SERVE ITS REGISTERED AGENT
                               ,     Plaintif/(s)                                                                                        KENNETH R NELSON
                                       VS.                                                                                             319 PINTO VALLEY DRIVE
                                                                                                                                           LAREDO TX 78045
            RICHARD C. PAYNE; BRETT C. BRAYTON; WARREN TRANSPORTATION, LLC
                                        Defendant(s)                                                                                           ISSUED THIS
                                                                                                                                           1st day of July, 2015
       filed in said Court on the 30th day of June, 20 15a copy of which accompanies this citation.
                                                                                                                                       John. F. Warren, County Clerk
                                                                                                                                       By: Guisla Hernandez, Deputy
       WITNESS: JOHN F. WARREN, Clerk ofthe County Courts of Dallas County, Texas. GIVEN UNDER MY
       HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this )st day of July, 2015 A.D.                                                Attorney for Plaintiff
                                                                                                                                            CRAIG W THOMAS
                                                                                                                                         MCKEY & SANCHEZ PC
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                                   Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                    Page 71 of 106 PageID 84


                                                                           OFFICER'S RETURN
CC-IS-030 15-C County Court at Law No.3

MA TTHEW R. MCCORMICK, DENVAN BENTLEY, SPENCER 1. POLLARD.et al vs. RICHARD C. PAYNE, BRETT C. BRAYTON, WARREN TRANSPORTATION,
LLC

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319 PINTO VALLEY DRIVE
LAREDO TX 78045


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DISCOVERY Petition with the date and service at the following times and places to-wit:

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               EXHIBIT “B-14”
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                                  CAUSE NO. CC-15-03015-C

 MATTHEW R. MCCORMICK,                           §           IN THE COUNTY COURT
 DENVAN BENTLEY,                                 §
 MARTIN R. STEWART                               §
 SPENCER L. POLLARD                              §
 LEE R. SPIELMAN, AND                            §
 GARRETT STEVENSON,                              §
   Plaintiffs,                                   §
                                                 §
 VS.                                             §           AT LAW NO. 3
                                                 §
 RICHARD C. PAYNE, BRETT C.                      §
 BRAYTON AND WARREN                              §
 TRANSPORTATION, LLC.,                           §
 WARREN TRANSPORT, INC.                          §           DALLAS COUNTY, TEXAS
      Defendants.


       DEFENDANTS WARREN TRANSPORT, INC.'S AND BRETT C. BRAYTON'S
         ORIGINAL ANSWER TO PLAINTIFFS' FIRST AMENDED PETITION
           SUBJECT TO DEFENDANT'S MOTION TO TRANSFER VENUE


 TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Defendants WARREN TRANSPORT, INC., (incorrectly identified as

 Warren Transportation, LLC)and BRETT C. BRAYTON, Defendants in the above-referenced

 cause, and files this their Motion to Transfer Venue, respectfully requesting that the Court

 transfer venue of Plaintiffs' First Amended Petition in Dallas County, Texas - which is an

 improper venue for their lawsuit - to Collin County, Texas. Subject to its Motion to Transfer

 Venue, Defendant files its Original Answer to Plaintiffs' First Amended Petition.

                          I.      MOTION TO TRANSFER VENUE

         Defendants file this their Motion to Transfer Venue pursuant to Rule 86 of the Texas

Rules of Civil Procedure subject to any other pleading in this matter and files its Original

DEFENDANTS WARREN TRANSPORT, INC.'S AND BRETT C. BRAYTON'S
ORIGINAL ANSWER TO PLAINTIFFS' FIRST AMENDED PETITION SUBJECT
TO DEFENDANT'S MOTION TO TRANSFER VENUE                                                 Page 1

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 Answer Subject to such Motion to Transfer Venue.

            Defendants assert that venue in this matter should be transferred to Collin County, Texas,

 on the basis of Chapter l5.002(a)(1) of the Texas Civil Practice and Remedies Code. Defendants

 object to venue in Dallas County, Texas, the county in which this action was instituted, on the

 grounds that Dallas County is not a proper county of venue for Plaintiffs. No basis exists

 mandating or permitting venue in Dallas County, Texas.

            Under the general venue statute a lawsuit shall be brought in the county in which all or a

 substantial part of the events or omissions giving rise to the claim occurred. See TEX. Cry. PRAC.

 & REM. CODE ANN. §15.002(a)(1). When a lawsuit involves multiple plaintiffs, each plaintiff

 must independently establish that venue is proper. TEX. Cry. PRAC. & REM. CODE ANN. § 15.003.

 When a plaintiff fails to establish that venue is proper, all of the plaintiffs claims and causes of

 action must be either transferred to a county of proper venue or dismissed. Jd.; see also Wilson

 v. Tex. Parks & Wildlife Dep't, 886 S.W.2d 259,260 (Tex. 1994) (holding that when a plaintiff

 files suit in a county where venue is not proper, the plaintiff waives the right to choose the venue,

 and the trial court must transfer the suit to a county of proper venue).

            Plaintiffs contend that venue is proper in Dallas County for their action(s) "under Section

 15.00l(a)(1) of the Texas Civil Practice and Remedies Code because all or a substantial part of

 the events or omissions giving rise to this lawsuit occurred in [that] county.") Plaintiffs have not

plead any other venue facts to establish or even attempt to establish venue under any other

 statute. 2




 1   See Plaintiffs' First Amended Petition at pg. 3.
2Id.

DEFENDANTS WARREN TRANSPORT, INC.'S AND BRETT C. BRAYTON'S
ORIGINAL ANSWER TO PLAINTIFFS' FIRST AMENDED PETITION SUBJECT
TO DEFENDANT'S MOTION TO TRANSFER VENUE                                                        Page 2

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             Defendants specifically deny Plaintiffs' allegation of venue facts supporting venue in

 Dallas County, Texas. Defendants also specifically deny that all or a substantial part of the

 events or omissions giving rise to this claim occurred in Dallas County. TEX. Cry. PRAC. & REM.

 CODE ANN. §lS.002(a)(1). Rather, all or a substantial part of the events or omissions giving rise

 to this claim occurred in Collin County as the accident giving rise to Plaintiffs' claims occurred

 in McKinney, Texas, a venue fact admitted in Plaintiffs' First Amended Petition. 3 (emphasis

 added). As further evidence that all or a substantial part of the events or omissions giving rise to

 Plaintiffs' claims occurred in Collin County, attached hereto and incorporated by reference is

 Exhibit "1", the certified Texas Peace Officer's Crash Report for the accident made the basis of

 Plaintiffs' claims. Clearly, accident made the basis of Plaintiffs' claims occurred in McKinney,

 Texas which is in Collin County, Texas. See Exhibit "1".

             As such, venue is not proper in Dallas County under section lS.002(a)(1), and instead,

venue is proper in Collin County, where all or a substantial part of the events or omissions giving

rise to Plaintiffs' claims occurred. 4     Id. at § lS.002(a)(1).   (emphasis added).     Therefore,

Plaintiffs' First Amended Petition should be transferred to Collin County, Texas.

            In conclusion, Defendants specifically deny that the causes of action as alleged in

Plaintiffs' First Amended Petition should be maintained in Dallas County, Texas. Therefore,

pursuant to section lS.002(a)(1) of the Texas Civil Practice and Remedies Code, venue is proper

in Collin County, not Dallas County. As such, Plaintiffs' causes of action should be transferred

to Collin County, Texas, the county in which all or a substantial part of the events or omissions

giving rise to the claim occurred.


3   Jd. at pg. 4.
4   Jd..

DEFENDANTS WARREN TRANSPORT, INC.'S AND BRETT C. BRAYTON'S
ORIGINAL ANSWER TO PLAINTIFFS' FIRST AMENDED PETITION SUBJECT
TO DEFENDANT'S MOTION TO TRANSFER VENUE                                                      Page 3

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                 ANSWER SUBJECT TO MOTION TO TRANSFER VENUE

                                    II.     GENERAL DENIAL

         Subject to its Motion to Transfer Venue, Defendants deny each and every, all and

 singular, the allegations contained in Plaintiffs' First Amended Petition and demand strict proof

 thereof as authorized by Texas Rule of Civil Procedure 92.

         WHEREFORE, PREMISES CONSIDERED, Defendants pray that their Motion to

 Transfer Venue be granted and that Plaintiffs' First Amended Petition be transferred from Dallas

 County, Texas to Collin County, Texas, and that upon final hearing and/or trial of this cause,

 Plaintiffs recover nothing by way of their suit against these Defendants, that these Defendants

 recover all costs, and for such other and further relief to which these Defendants may show

 themselves to be justly entitled, both at law and in equity.




DEFENDANTS WARREN TRANSPORT, INCo'S AND BRETT C. BRAYTON'S
ORIGINAL ANSWER TO PLAINTIFFS' FIRST AMENDED PETITION SUBJECT
TO DEFENDANT'S MOTION TO TRANSFER VENUE                                                   Page 4

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                                             Respectfully submitted,

                                             SARGENT LAW, P.C.



                                                                               ..
                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                                  State Bar No. 17648700
                                                  david.sargent@sargentlawtx.com
                                                  BRENT W. CHANDLER
                                                  State Bar No. 24055291
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                                             Dallas, Texas 75202
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                                             (214) 749-6316 (fax-David Sargent)
                                             (214) 749-6510 (direct - Brent Chandler)
                                             (214) 749-6310 (fax - Brent Chandler)

                                             ATTORNEYS FOR DEFENDANTS
                                             BRETT COLBY BRAYTON AND
                                             WARREN TRANSPORT, INC.




DEFENDANTS WARREN TRANSPORT, INC.'S AND BRETT C. BRAYTON'S
ORIGINAL ANSWER TO PLAINTIFFS' FIRST AMENDED PETITION SUBJECT
TO DEFENDANT'S MOTION TO TRANSFER VENUE                                                 Page 5

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on the 6 th day of August, 2015, a true and correct copy of the above

 and foregoing instrument was forwarded to the following counsel via certified mail return receipt

requested:

           Craig W. Thomas
           Jeremy W. McKey
           McKey & Sanchez, P.C.
           1349 Empire Central, Suite 700
           Dallas, Texas 75247

           ATTORNEYS FOR PLAINTIFFS


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           JOHN W. BREEZE
           MARK A. TEAGUE
           T. RYAN JOHNSON
           HILLARY L. CLARK
           MICHAEL S. KELLY
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           Mr. David M. Vereeke
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           Dallas, Texas 75205

           ATTORNEY FOR CROSS-PLAINTIFF RICHARD PAYNE




                                                        BRENT W. CHANDLER

DEFENDANTS WARREN TRANSPORT, INCo'S AND BRETT C. BRAYTON'S
ORIGINAL ANSWER TO PLAINTIFFS' FIRST AMENDED PETITION SUBJECT
TO DEFENDANT'S MOTION TO TRANSFER VENUE                                                       Page 6

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             EXHIBIT “B-14a”
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                   EXHIBIT 1
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                                                                                               Wed, 03 Jun 2015



STATE OF TEXAS                §


This is to certify that I, Debra Vermillion, am employed by the Texas Department of
Transportation (Department); that I am the Custodian of Motor Vehicle Crash Records for such
Department; that the attached is a true and correct copy of the peace officer's report filed with
the Department referred to in the attached request with the crash date of Wed, 11 Dec 2013
, which occurred in     Collin        County; that the investigations of motor vehicle crashes by
peace officers are authorized by law; that this Texas Peace Officer's Crash Report is required
by law to be completed and filed with this Department; that this report sets forth matters
observed pursuant to duty imposed by law as to which matters there was a duty to report, or
factual findings resulting from an investigation made pursuant to authority granted by law.




Debra Vermillion, Director
Crash Data and Analysis Section
P. O. Box 149349
Austin, Texas 78714
(512) 486~5780




                                                OUR GOALS
  MAINTAIN A SAFE SYSTEM • ADDRESS CONGESTION • CONNECT TEXAS COMMUNITIES • BEST IN CLASS STATE AGENCY
                                       An Equal Opportunity Employer
          Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                                                                                                       Page 82 of 106 PageID 95

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                                            Mail to: Texas Department of Transportation, Crash Records, P.O. Box 149349, Auslln, TX 78714. Questions? Call (512) 486·5780

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       By    ROPERS                                                                                                                                                                                                                                                                                                     \
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             Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                                                            Page 83 of 106 PageID 96


 Law Enforcement and TxDOT Use ONLY
 Form CR·3 1(1(2010
                                                           I
                                                           C
                                                            ase
                                                                ID
                                                                   13-010757                                     ITxDOT Crash 10
                                                                                                                                                                                                               Pagewof UU
             Unit Prsn.
                                                       Taken To                                                 Taken   By                                            Dale of oeat~)                            Time of Death
             Num. Num.                                                                                                                                               (MMIDOfYYYY                                  (24HRMM)

                                                                                                                                                        ~~I
                                                                                           MCKINNEY EMS
               3           1      MEDICAL CENTER MCKINNEY                                                                                                                             I       I       I       I I   I           I           I       I
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        Unit           Prsn.
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       Num.            Num.                                                                        Charge                                                                                         CltatlonlReference Num.
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                   Oamsued Prooertv Other Than Vehicles                                             Owner's Name                                                               Owner's Address
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      Unit
      Num. 1     lill0,OOl + LaS.
                                  TRANSPORTING     o
                                  HAZARDOUS MATERIAL
                                                                                       09+ CAPACITY          28 Veh.
                                                                                                             Oper.       1
                                                                                                                             It9 Carrier
                                                                                                                              10 Type               1
                                                                                                                                                                I Carrier
                                                                                                                                                                  IDNum.    001896
      Carrier's
      Corp. Name WARREN TRANSPORTATION
                                                                                       ICarrier's
                                                                                        Primary Addr.    210 BECK AVE WATERLOO                                          IAS0704
~ 30 Rdwy.
U     Access'          2
                           31 Veh.
                           Type 9
                                          IPRGVW
                                           ~GVWR I     81 0 10 I 0
                                                                           HazMat DYes 1!32 HazMat      Ha~Mat
                                                                     I 0 I Released ~ No. Class Num.L-J ID Num.L.L.J I                          I       I   I
                                                                                                                                                                   ,1 32 HazMat    jHazMatJ
                                                                                                                                                                   , CI~ss Num.L-J 10 Num.LL.J I                            I           I       I       I
      33 Cargo
      Body Style           98
                                  ITralier 1 Wnit
                                             Num.      2
                                                               IpRGVW
                                                                DGVWR I       I    I
                                                                                                     1~4Trlr.
                                                                                           I ,10, Type
                                                                                                                         ITrailer 2    I~nit
                                                                                                                                        Num.
                                                                                                                                                                 IPRGVW
                                                                                                                                                                  DGVWR I         I       I       I       I
                                                                                                                                                                                                                  134 Trlr.
                                                                                                                                                                                                                I Type

      Sequence /35 Seq. 1
      Of Events                             13
                                                       35 Seq. 2
                                                                         13            35 Seq. 3
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t>."rfj . 36 ContrlbutlnQ Factors Invest! ator's Opinion                   31 Vehicle Defects (Investigator's Opinion                                    Environmental nd Roadwav Conditions
~8           Unit Num.              Contributing       May Have Contrlb.          Contributin               Mav Have Contrlb.           38               39      40       41      42       43       44
                                                                                                                                                        Light Entering Roadwa~ Roadway Surface Traffic
Ot:
,,~c            1              22
                                                                                                                                      Weather
                                                                                                                                       Condo            Condo Roads      Type Alignment Condition Control
!is
t1.(.)             2                                                                                                                    1                   6         97         3                    2             1                       11
                               . Investl~ator's Narrative Opinion of What Happened                                                                  Field Diagram - Not to Scale
                                       ( ttach Additional Sheets If Necessary)
      Commercial Motor Vehicle Unit 1, with unit 2
                                                                                                              Indicate
                                                                                                              North            I
      in tow, was traveling South bound in the 1800
      block of US 75. Driver of Unit 1 reported that
      traffic in front of him was stopped or
      stopping but that he did not see any brake
      lights. Driver of unit 1 reported that he
      braked from an estimated 60 mph to an
      estimated 45 mph at point of collision.
~
~AS            a result, unit 1 front struck the rear of
~unit 3 causing Unit 3 to spin counter
°(."
~
   clock-wise placing the left side of unit 3
   across the front of Onit 1. As a result unit 3
~was pushed into the rear of Unit 4. Unit 4
IE was apparently pushed into the right side of
~
~Unit 5. Unit 1 momentum continued striking the
   left rear quarter of Unit 6.

      Drivers/occupants of Units 3-6 were unable to
                                     * * Continued *                                                    *
e
Q: Time Notified
       24HRMM)
                                          Wow
                           I 11 7 I 3 1 ZI Nollfied        ON VIEW
                                                                                                              Time Arrived
                                                                                                             1(24HRMM)        111ZI~IZI
                                                                                                                                                        I   mePOr! Date
                                                                                                                                                            MMIDOIYYYY)
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13 Invest. ~Yeslilnvestlgator                                                                                                                                                         10
r.: Compo ONo Name (Printed)                       RAY,    TRAVIS        M.                                                                                                           Num.        11853

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                                                                     y
                                                                         MCKINNEY POLICE DEPARTMENT
                                                                                                                                                                                  DlstrlcV
                                                                                                                                                                                  Area     IAI51                        I           I           I       I
           Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                                                                                  Page 84 of 106 PageID 97

law Enforcement and TxOOT Use ONLY
OFATAL Ij)CMV OSCHOOLBUS                                              o RAILROAD
 -±::::*                                                                         Texas Peace Officer's Crash Report (Form CR·3 1/1(2010)


 A ·'·'"
                                              Mall to: Texas Department of Transportation, Crash Records, P.O. Box 149349, Auslin. TX 78714. Questions? Call (512) 486-5780
           OtPllltmftfll                                                              Refer to Attached Code Sheet for Numbered Fields                                                                                     PageW of LJl.J

                                                                                                                           I
                                              * =These fields are required on ali additional sheets submitted for this crash (ex: additional vehicles occupants injured etc)
        {l1'tlatl£pl'lltlltl.Jn

                                                    I         I
      *Crash Date
      (MMIDO/YYYY)                       L1W t..!J..L I 210 I 113, I(24HRMM)
                                                                                     I*Crash Time
                                                                                                         1117 ( 3, ~ I
                                                                                                               1* City
                                                                                                                               Case
                                                                                                                               10   13-010757                                                  I  Local
                                                                                                                                                                                                  Use

 o.~ *County
     Name                         COLLIN                                                                       1Name       MCKINNEY
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                                                                                                                                                                                                                                  0       Outside
                                                                                                                                                                                                                                          City Limit
 ~~------""'------------~~-r--------~--------------~--------------------~--~-1
 (3 In v.our opInIon, did this crash result in ~t least !!l Yes ILatitude                Longitude
 o $1,000 dama"e to anyone poraon's property? ONO (decimaldE!9rees) L..-L..J " , I I I I (decimal degrees) 1,1 I I
 ~ ROAD ON WHICH CRASH OCCURRED
~ *1
g    Rdwy.                        US r*iiwy.               75         .1 Part
                                                                         2 Rdwy      1        IBIOCk 1800 BL 13 Street            N        *Name
                                                                                                                                             Street                                   75
                                                                                                                                                                                                                           4 Street
  Sys.
() 0
i!
                                      Num.
         Crash Occurred on a Private Drive or liO Toll Roadl Speed
         RoadlPrivate Property/Parking Lot ". Toll Lane Limit
                                                                      Iconst~D
                                                                   65 IZone
                                                                                         I     Num,
                                                                            Yes WorkersDYes Street
                                                                                Present ~NO Oese.
                                                                                                         •    Prefix
                                                                                                                                                    I                                                                     1Suffix


i;;   INTERSECTING ROAD, OR IF CRASH NOT A T INTERSECnON,                      ~C·T/~N;;;G~RiiOfi~:;;D~OdR!:-:R::::E=-=F=E::::R;'EN:-;C::::E;::-M:7A":"R::::K~E~R~-----------t
~  At 0 Yes 11 Rdwy.
•• Int. ~ No I Sys.
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                                                                                                                               13 Street
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                                                                                                                                                     1Street
                                                                                                                                                      Name                        UNIVERSITY
                                                                                                                                                                                                                              4 Street
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      Distance from Inl.                             I~ FT            13
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      or Ref. Marker                            1000 0 MI or Ref. Marker N I Marker                                    Oesc.                                                                     Num.
      Unit
      Num.              3         15   Unit
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   Veh.
   Yearl2101110tlColor
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                                      BLK IMakeTOVOTA
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                                                                                                                            1Model TUNDRA
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   Address (Street,
r" City, State. ZIP)
;5 c: C - ()
                        6602 MARQUETT CT, ROWLElT, TX 75089
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                            Enter Driver or Primary Person for this Unit on first line                                                                c                      0:                                                 CJ~ Q~
W&:~ ~~ ~~:
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ii                                                                               Not Applicable· Alcohol and
1~r--+--;---r-------------------------------------------1-~-r--+-;-~~_t--+_~---h'ru~ Results are only reported

dr--+-;---r------------------------------------------1--~--r--+--4-~~_t--+_~--~  or rlverlPrimary Person for
                                                                                          each Unit.
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~I~~___~~h---------~~~~~~~~~~~~--------
.- [!jQwner 10wneriLessee       PAYNE, RICHARD, CARVEL
                                                                                                                         ___   ~---~       ___     L-~___~---~~--~~--~--------------__;
      oLessee Name & Address    6602 MAROUElT CT ROWLETT, TX 75089
   Proofof [!jYes DExp ired l26 Fin.      IFin. Rasp. STATE FARM                                                                                             IN1Fiunm'R.es p. 0070603 K2S 4JP 002
   Fin. Rasp 0 No D Exempt I Resp. Type 1 IName                                                                                                              II
      Fin. Resp.                                                                    127 Vehicle                                                    27 Vehicle                                                            IVehicle             DYes
      Phone Num. (SOD) 782~8332                                                      Damage Rating 1L.L-1-'               ,B I O,-W                Damage Rallng 2L..L..J-1                          f   L, OI-wJlnventorled~No
      TB,~wed
       ':1
                        BIG BASS                                                               jTowed
                                                                                                To    BIG BASS 201 MAIN ST MCKINNEY TX 75069
      Unit
      Num.4
                                  1Oase.
                                   5 Unit
                                                111
                                                        Parked ItO Hit and I LP
                                                    IrO VehicleI'  Run ISlata                 CA
                                                                                                    ILP
                                                                                                     Num.      SZ76822
                                                                                                                                      JVINtl,FIBISIS,3111L,8,7,D,BI3111611,7,
   Vah.                    16 Veh.        IVeh.                   IVeh.                                                                                                               17 Body   10 ~~e[g~~crt:~(E-:;x~~in In
   YearI2,O,OI71ICOIO(                GRY IMakeFORD               IModelE25D                                                                                                          IStyie VNI' Narrallvelchecke4)
   8 DlllD        10LliO       IOLIID                19 OL     110 COL       11 OL                                                                                                IDOB                    ,
   Type       1     Stale CA Num.                    IClass 98 End.     98   Rest.                                                                                   98           i(MMIOO/YYYY)
   Address (Street.
t" City. State,ZIP)     20 FAIRVIEW AVE, CORTE MADERA, CA 94925
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Ii: 0       .
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                ~           m' r,;:;
                            -
                                                                    Name: Lllst, First. Middle
~     e! fi     u.. ~ tn"Wi                         Enter Driver or Primllry Person for this Unit on first line
)ttL~~~.t'~&
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~ 1                 1             1     MCCORMICK MAlTHEW REILLY                                                                   N 26 W                     1       1      1       1        1          N    96                96        97        97
~
~ 2 2 J SPIELMAN LEE ROY                    N 25 W 1 1 1 1 1 N Not Applicable • Alcohol and
                                                                  rug Results are only reported
Ili 3 2· 6 BENTLEY DEVAN                    N 26 W 1  1 1 1 1 N or Driver/Primary Person for
~~~~~~~~~~~~~~-------------------------------~-1~~~~~~~=-~~--~~~~         each Unit.
~      4          2             4
                 STEWART MARTIN ROBERTO                        N 32                                                                                 B        1        1      1       1        1          N
'~~Owne( IOwner/Lessee      STEVENSON, GARRETT, WAYNE
      Dlessee IName&AddresS

      Fin. Resp ONo
                            119 W 36TH PL 102 LOS ANGLES CA 90007
      Proof of ~Yes DExpired 126 Fin.
                      Exempt! Resp. Type o
                                                                            1   IFin. Resp. GEICO
                                                                                 Name
                                                                                                                                                             IAn. Resp.
                                                                                                                                                                 Num.             4248811285
      Fin. Resp.                                                                    127 Vehicle                                                    27 Vehicle                                                             /Vehlcle            0     Yes
      Phone Num. (800) 841-3000                                                      Damage Rating 1L.L-I-I               I B!   oI-tAl Damage Rating 2L.L-1-' L, F I Q,-t.1.J/lnvenlofied(jJNo
      ~~wed             DRIVER                                                                 1~~wedDRIVEN AWAY BY DRIVER
             Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                                                                Page 85 of 106 PageID 98


 Law Enforcement ~nd TxDOT Use ONLY
 Form CR.3 1/1/2010
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                                                                         13-010757                                      ITxOOT Crash 10
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             Unit
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                      Prsn.
                      Num.                          Taken To                                                           Taken By
                                                                                                                                                                        Date of Death'
                                                                                                                                                                       (~M/DDIYYYY)
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          Unit       Prso,
         Num,        Num.                                                                                 Charge                                                                                    Citation/Reference Num.

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                  Damaged Prollertv Other Than Vehicles                                                   Owner's Name                                                           Owner's Address
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       Unit
       Num.               010,001+ lBS.         o   TRANSPORTING
                                                    HAZARDOUS MATERIAL                       o   9+   C~PACITY ~~~r~h.            1~9 Carrier
                                                                                                                                   10 Type
                                                                                                                                                               I~arrler
                                                                                                                                                                   10 Num.
       Carrier's
       Corp, Name
                                                                                             ICarrier's
                                                                                              Primary Addr.
~ 30 Rdwy.                31 Veh.      IPRGVW                               HazMat            0      Yes 132 HazMat   HazMat                                         11~2 HazMat JWazM8t
() Access                 Type          DGVWRI         I    I   I    I    I Released          0      No Class Num.L.J 10 Num.LJ.....J I           I    I       I     I Class Num.L.J 10 Num.LJ.....J I                       I       I           I       I
       33 Cargo
       Body Style
                                I I
                                 Trailer , ,Unit
                                           Num.
                                                            IPRGVW
                                                             DGVWR I               I     I       I    I
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                                                                                                                                                                                                     Num. Tires
t-.,tn        36 eonttlbuUna Factors Invesll ator's Oalnlon   37 Vehicle efects Inves :Iaatar's ODinion                                                 Environmental and Roadwav Conditions
fQ8          Unit Num.     Contributln      Mav Have Contrlb.      Contributin      Mav Have Conlrlb.                                     38            39      40       41      42        43      44
. .)>==                                                                                                                                 Weather        Light Entering R03dwa~ Roadway Surface Traffic
~,.. is          3                                                                                                                       Condo         Concl. Roads     Type Alignment Condition Control
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lI.()            4                                                                                                                           1             6            97         3                 2               1                       11
                              InveStl~ator'S Narrative Opinion of What Happened                                                                       Field Diagram· Not to Scale
                                    ( tlach Additional Sheets If Necessary)                                         Indicate
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       Time Notified
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r.;
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       Invest. [!JYes ~nvestlgator
       Compo ONo Name (Printed)                 RAY, TRAVIS M.
                                                                                                                                                                                    10
                                                                                                                                                                                    Num.            11853

i ~~~'I T1XI 0141 ~I 0151 01                         oll*AgenC Y          MCKINNEY POLICE OEPARTMENT
                                                                                                                                                                                    District!
                                                                                                                                                                                    Area      I          Alli I          I       1 I                     I
            Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                                                                                Page 86 of 106 PageID 99

     Law Enforcement and TxDOT Use ONLY                                                                                      ACTIVE      Total                                       Total                                   TxDOT
    o FATAL Iil CMV         SCHOOL BUS         0                    0   RAILROAD       0    MAB   0   SUPPLEMENT         0   SCHOOL ZONE ~~m- 0                          0 6 ~~rns,' 0 111 11 Cfash ID

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        A           r911 ..
                i)p.pllf1n.1Rn\
            f'tf,.Jllprutolkln
                                                                                 Texas Peace Officer's Crash Report (Form CR·3 1/1/2010)
                                              Mall to: Texas Oepartment of Transportation, Crash Records. P,O, Box 149349. Austin. TX 78714. Questions? Call (512) 486-5780
                                                                                      Refer to Attached Code Sheet for Numbered Fields
                                              * =Thase fields are required on all additional sheets submitted for this crash (ex.: additional vehicles. occupants Injured, etc)
                                                                                                                                                                                                                                    PageL.5...J of L2..J

                                                     I        I
           * Crash Date
           (MM/DDIYYVY)
     '" *County
                                             ~
                                                                               I*Crash Time
                                                      L!.t...L 1 21 0 I 11 3 I I(24HRMM)
                                                                                                             1* City
                                                                                                                                                                                              I  Local
                                                                                                                                                                                                 Use
                                                                                                                                                                                                                                        10      OutSide
     is Name                        COLLIN                                                                   I Name       MCKINNEY                                                                                                              Cityl.lmlt
     ~~~------------------~~~~------~~----------~~~----------------~~--;
     ~ In your opinion, did Ihl. craoh r••ullin all.asl l~ Yes ILatilUde                            Longitude
     o $1,000 damage to anyone person's property?       0 No (decimal degrees) L..L..J. I I I I I I (decimal degrees) I 1.1 I I ! I I
     ~ ROAD ON WHICH CRASH OCCURReD
     g *1Sys,Rdwy,
     ;t'                                US I*Hwy.           75          !2RdWY     1       !BIOCk 1800 BL  Street/3              N        *Streel                                   75
                                                                                                                                                                                                                                    !4Street

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     II
           0
                                           1Num.
          Crash Occurred on a Private Drive orlo Totl Roedl Speed
          RoadlPrivate Property/Parking Lot II Toll Lane limit
                                                                         Part
                                                                                       I    Num,         MPrefix
                                                                                                        IConst.D Yes IWorkersDYes I Street
                                                                                                   65 IZone ~ No Wresenl ~No I Dase.
                                                                                                                                          Name                                                                                       SUffiX


    ~: INTERSECTING ROAD, OR IF CRASH NOT A TINTERSECTION,                                        NEAReST INTERSECTING ROAD OR REFeRENCE MARKER
    l~ At 0 Yes 11 Rdwy.
    - Inl. ~ No I Sys.
                                  IHWY,
                             LR Num.'
                                                       12 Rdwy
                                                        Part    1
                                                                                                  I Block
                                                                                                    Num.    2000
                                                                                                                          13
                                                                                                                        Street
                                                                                                                      Prefix
                                                                                                                                    Street
                                                                                                                               W Name
                                                                                                                                                    I
                                                                                                                                           UNIVERSITY
                                                                                                                                                                                                                                    14 Street
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           Distance from Int.                        I [jJ FT 13 Olr. from Int I Referenee                            /street                                                                   IRRX
           or Ref, Marker                       1000 D MI Ior Ref. Marker N Marker                                     Dase.                                                                     Num.,                                     I     I     I        I

           ~G~. 5 15~;g~ 1 10e:~~~10~~;ndl~rate                                            TX !;fum,         BYG7173                  IVINl5,JI6IR,E,3,HI5,SIAILIO,OI4,8,2,S,
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            Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                                                          Page 87 of 106 PageID 100


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Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                      Page 88 of 106 PageID 101



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accurately describe the sequence of events since they were all struck from the rear.

Driver of Unit 3 transported to Medical Center of Mckinney with unknown injuries.

The exact sequence of events are unknown since no witnesses could be located to accurately
describe the crash.

Nothing further.




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         Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                                                                Page 89 of 106 PageID 102


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               EXHIBIT “B-15”
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Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                 Page 92 of 106 PageID 1058/7/20158:26:15 AM
                                                                                                   JOHN F. WARREN
                                                                                                     COUNTY CLERK
                                                                                                    DALLAS COUNTY




                                      NO. CC-15-02648-B

    MATTHEW R. MCCORMICK,                                §       IN THE COUNTY COURT
    DENVAN BENTLEY,                                      §
    MARTIN R. STEWART                                    §
    SPENCER L. POLLARD,                                  §
    LEE R. SPIELMAN, AND                                 §
    GARRETT STEVENSON,                                   §
    PLAINTIFFS                                           §
                                                         §
                                                         §
    VS.                                                  §           AT LAW NO. 3
                                                         §
                                                         §
    RICHARD C. PAYNE, BRETT C.                           §
    BRAYTON AND WARREN                                   §
    TRANSPORTATION, LLC.,                                §
    WARREN TRANSPORT, INC.                               §
    DEFENDANT                                            §      DALLAS COUNTY, TEXAS

                           PLAINTIFF'S NOTICE OF NONSUIT

    TO THE HONORABLE JUDGE OF SAID COURT:

            Please be advised that Plaintiffs, MATTHEW R. MCCORMICK, DENVAN
    BENTLEY, MARTIN R. STEWART, DENVAN BENTLEY, SPENCER L. POLLARD,
    LEE R. SPIELMAN, AND GARRETT STEVENSON, hereby takes a nonsuit of
    Plaintiffs' claim against WARREN TRASPORTATION, LLC., Defendant in the above-
    styled case, with prejudice to refilling of same, pursuant to Rule 162 of the Texas Rules
    of Civil Procedure.

           The docket clerk is requested to enter this notice into the minutes of the Court.




    NOTICE OF NONSUIT                                                                 Page 1 of3
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                                      Respectfully submitted,




                                      CRAIG W. THOMAS
                                      State Bar No. 24048047
                                      craig@972Iawfirm.com
                                      JEREMY MCKEY
                                      State Bar No. 24053353
                                      jeremy@972Iawfirm.com

                                      McKEY & SANCHEZ
                                      1349 Empire Central, Ste. 700
                                      Dallas, Texas 75247
                                      Tel/Fax: (972) LAW-FIRM
                                      (972) 529-3476 telephone/facsimile
                                      ATTORNEYS FOR PLAINTIFF




    NOTICE OF NONSUIT                                                      Page 2 of3
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                                CERTIFICATE OF SERVICE

            I hereby certify that on this 7th day of August, 2015, a true and correct copy of
    the foregoing instrument has been served electronically served and/or mailed to on all
    counsel and parties of record.


           ADAM B. LECRON
           State Bar No. 00786447
           THE LECRON LAW FIRM, PC
           Wall Street Plaza
           123 North Ctockett St., Ste. 200
           Sherman, Texas 75090
           Tel No. (903) 813-1900
           Fax No. (903) 813-1944
           eservice@lecronelaw.com.com
           ATTORNEY FOR DEFENDANT
           RICHARD C. PAYNE

           BRENT W. CHANDLE
           State Bar No. 24055291
           SARGENT LAW, P.C.
           901 Main Street, Ste. 5200
           Dallas, Texas 75202
           Tel No. (214) 749-6510
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           Brent.chandler@sargentlawtx.com
           ATTORNEY FOR DEFENDANTS
           BRETT COLBY BRAYTON AND
           WARREN TRANSPORT, INC.




                                                  Craig W. Thomas




    NOTICE OF NONSUIT                                                                 Page 3 of3
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               EXHIBIT “B-16”
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                                                                                                 JOHN F. WARREN
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                                       Cause No. CC-lS-0301S-C

  MATTHEW R. MCCORMICK,                           §              IN THE COUNTY COURT
  DENV AN BENTLEY,                                §
  MARTIN R. STEWART,                              §
  SPENCER L. POLLARD,                             §
  LEE R. SPIELMAN, and                            §
  GARRETT STEVENSON                               §
        Plaintiffs,                               §
                                                  §
  v.                                              §                AT LAW NO. 3
                                                  §
                                                  §
  RICHARD C. PAYNE,                               §
  BRETT C. BRAYTON and                            §
  WARREN TRANSPORTATION, LLC,                     §
  WARREN TRANSPORT, INC.                          §
                                                  §
         Defendants                               §              DALLAS COUNTY, TEXAS


  RICHARD C. PAYNE                                §
       Cross-Plaintiff                            §
                                                  §
  v.                                              §
                                                  §
  BRETT C. BRAYTON and                            §
  WARREN TRANSPORT, INC.                          §
       Cross-Defendants                           §


       DEFENDANT/CROSS-PLAINTIFF RICHARD C. PAYNE'S CROSS-CLAIM AND
                        REQUEST FOR DISCLOSURE

  TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES, RICHARD PAYNE, Defendant/Cross-Plaintiff, in this his Cross-Claim

  and Request for Disclosure pursuant to TEX. R. Crv. P. 97, against Cross-Defendants BRETT C.

  BRA YTON and WARREN TRANSPORT, INC., for cause of action would respectfully show

  unto the Court as follows, to-wit:
Case 3:15-cv-02729-M Document 1-2 Filed 08/20/15                             Page 97 of 106 PageID 110




                                                       I.   PARTIES


              1.       Cross-Plaintiff Richard C. Payne ("Cross-Plaintiff') is a natural person and

  citizen of Texas and the United States.

             2.        Cross-Defendant Brett Colby Brayton ("Brayton" or "Cross-Defendant") is

  natural person and citizen of the State of Iowa and of the United States. Mr. Brayton has

  appeared.

             3.        Cross-Defendant Warren Transport, Inc. ("Warren Transport" or "Cross-

  Defendant) is a foreign corporation pursuant to federal law whose main office is located in Iowa

  and is deemed, for purposes of jurisdiction and venue in civil actions, to be a citizen of the state

  of Iowa. Warren Transport has appeared.

                                             II. JURISDICTION AND VENUE

             4.        The amount in controversy exceeds the minimum jurisdictional limits of this

  Court, and the Court has jurisdiction over the subject matter.

             5.        Venue is not proper in Dallas County because all or a substantial part of the

  events or omissions that gave rise to this claim occurred in Collin County, Texas. TEX. CIv.

  PRAC. & REM. CODE § 15.002(a)(l).1

                                     III.   AGENCY AND RESPONDEAT SUPERIOR


             6.        Whenever in this petition it is alleged that any Defendant did, or failed to do, any

  act, thing and/or omission, it is meant that Defendant itself or its agents, officers; servants,

  employees, vice principals, or representatives either did or failed to do such act, thing and/or

  omission, and it was done with the full authorization or ratification of Defendant, and/or done in

  the normal routine, course and scope of the agency or employment of Defendant or its agents,



  I   See Plaintiffs' First Amended Petition, pg. 4.
  Defendant/Cross-Plaintiff Richard C. Payne's Cross-Claim against Cross-Defendants Brett C. Brayton and Warren
  Transport, Inc.                                                                                              Page 2
  Payne
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  officers, servants, employees, vice principals, or representatives and/or with actual and/or

  apparent authority of Defendant.

          7.       To the extent that Defendant Warren Transport asserts that Mr. Brayton is an

  independent contractor, the Court should find that Mr. Brayton is an employee of Warren

  Transport, and that Warren Transport is a motor carrier and employer, with respect to violations

  of the Federal Motor Carrier Safety Regulations, as well as violations of Texas Statutes.

                                         IV. FACTUAL BACKGROUND

          8.       On December 11, 2013, Cross-Plaintiff was driving a vehicle traveling south

  bound on the 1800 block of U.S. 75 when he came upon stopped traffic. He slowed down and

  stopped with the rest of traffic and was hit from behind by the semi driven by Cross-Defendant

  Brett Colby Brayton, employee truck driver for Cross-Defendant Warren Transport, Inc. He felt

  the impact of the semi ramming his vehicle, causing him to careen into the vehicle immediately

  in front of him and causing his truck to spin counter clockwise. His truck was then hit a second

  time by the trailer of the semi when the semi jack knifed.

           9.      After first responders arrived and Cross-Plaintiff was removed from his truck,

  Plaintiff was transported to Medical Center of McKinney. At the time, he could not feel his left

  leg and had serious impairment of the lower part of his body. At the hospital, he spoke with the

  officer from the scene of the accident, who told him that the driver of the truck only saw

  taillights and was traveling at least 40 miles per hour when he struck Plaintiff's truck.

           10.     As a direct and proximate cause of the accident, Cross-Plaintiff sustained serious

  injuries and damages to his pelvis, knee, and body generally.                  Cross-Plaintiff was taken by

  ambulance to Medical Center of McKinney and diagnosed with acute minimally displaced




  Defendant/Cross-Plaintiff Richard C. Payne's Cross-Claim against Cross-Defendants Brett C. Brayton and Warren
  Transport, Inc.                                                                                              Page 3
  Payne
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  comminuted left acetabular fracture involving the anterior and posterior columns. One of the

  fracture lines extends superiorly through the pelvis to the area of the sacroiliac joint.

           11.     Since that time, he has continued to have pain and restricted mobility in his lower

  body.    He has required almost continual medical care even after being discharged from the

  hospital and has suffered continuous pain, muscle spasm, and an inability to sleep. He is also

  continuing to undergo physical therapy in order to attempt to have a semi-normal life after this

  catastrophic event. These injuries were and are proximately caused by Cross-Defendant

  Brayton's actions as an employee of Warren Transport.

           12.     Further, based on the foregoing, Cross-Defendants are liable for any and all

  claims by Plaintiffs against Mr. Payne.

                                             V. CAUSES OF ACTION

           13.     The collision described above, and the resulting injuries and damages suffered by

  Mr. Payne, were proximately caused by the negligent conduct of Cross-Defendants, the driver in

  one or more of the following respects:

                    1.      Violating Texas Transportation Code 545.062, by failing to keep an
                            assured clear distance;

                   2.       Violating Texas Transportation Code §545.15I, by failing to yield the
                            right of way;

                   3.       Violating Texas Transportation Code §545.35I, by driving at a speed
                            greater than reasonable and prudent under the circumstances then existing;

                   4.       Violating Texas Transportation Code §545.35I, by driving in willful or
                            wanton disregard for the safety of persons or property;

                   5.       Violating Texas Administrative Code § 4.11 (a), by violating the
                            incorporated Federal Motor Carrier Safety Regulations.

                   6.       Violating Federal Motor Carrier Safety Regulations 49 C.F.R. § 396.7 in
                            operating a motor vehicle in a condition likely to cause an accident.



  Defendant/Cross-Plaintiff Richard C. Payne's Cross-Claim against Cross-Defendants Brett C. Brayton and Warren
  Transport, Inc.                                                                                              Page 4
  Payne
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                   7.       Violating Federal Motor Carrier Safety Regulations 49 C.F.R. § 382.101
                            et seq.

                   8.       Violating Federal Motor Carrier Safety Regulations 49 C.P.R. § 390.1 et
                            seq. by failing to maintain driver records.

                   9.       Violating Federal Motor Carrier Safety Regulations 49 C.P.R. § 392.1 et
                            seq.

                   10.      Failing to tum to the right (left) to avoid colliding with Plaintiff;

                   11.      Failing to keep a proper lookout;

                   12.      Failing to apply his brakes properly and/or timely.


           14.     Cross-Defendant Brayton was negligent on the occasion in question, which was

  the proximate cause of Mr. Payne's injuries. Each of these acts and omissions, singularly or in

  combination, constituted negligence which proximately caused the occurrence made the basis of

  this action and the Mr. Payne's injuries and damages as described below.

  Negligence

           15.     Mr. Payne realleges the allegations contained above, inclusive, and incorporates

  the same herein by reference.

           16.     Liability in a negligence action requires: (1) a legal duty owed one person by

  another; (2) a breach of that duty; (3) that the breach was a proximate cause of the injury; and (4)

  actual injury. Koepke v. Martinez, 84 S.W.3d 393, 396 (Tex. App.-Corpus Christi 2002, pet.

  denied) (citing Bird v. W.e. W., 868 S.W.2d 767, 769 (Tex. 1994)).

           17.     Brayton was negligent in his actions. He owed a general duty of care to those on

  the road, which he breached in not paying attention to the traffic conditions and failing to brake,

  hitting Plaintiff. As an employee for Warren Transport, Warren is liable for Brayton's actions

  under respondeat superior. Brayton was acting in the scope of his employment, therefore Warren

  Transport is liable for his actions.

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          18.      Brayton's actions were the proximate cause of Plaintiff's injuries. Therefore,

  Brayton and Warren Transport are liable for the injuries caused to Plaintiff.

  Negligent Hiring/Supervision

          19.      Mr. Payne realleges the allegations contained above, inclusive, and incorporates

  the same herein by reference.

          20.      Warren Transport owed Mr. Payne a legal duty to hire, supervise, train, and retain

  competent employees. Warren Transport breached that duty in its hiring, supervision, training,

  and retention of Brayton. Warren Transport's breach proximately caused injury to Mr. Payne.

  Castillo v. Gulf Coast Livestock Mkt., L.L.C., 392 S.W.3d 299, 306 (Tex. App.-San Antonio

  2012, no pet.). Therefore, Warren Transport is liable for the injuries caused to Mr. Payne.

  Gross Negligence

          21.      Plaintiff realleges the allegations contained above, inclusive, and incorporates the

  same herein by reference.

          22.      Gross negligence includes two elements in addition to the elements of negligence:

  (1) viewed objectively from the actor's standpoint, the act or omission must involve an extreme

  degree of risk, considering the probability and magnitude of the potential harm to others, and (2)

  the actor must have actual, subjective awareness of the risk involved, but nevertheless proceed in

  conscious indifference to the rights, safety, or welfare of others. U-Haullntern., Inc. v. Waldrip

  380 S.W.3d 118, 137 (Tex. 2012).

          23.      Defendant Brayton's actions constituted an act that involved an extreme degree of

  risk. Brayton knew or should have known that driving in a major urban center at high speeds

  during the evening rush hour involves an extreme degree of risk, as traffic conditions can change

  in very little time. Driving at 60 miles per hour in rush hour traffic in a semi involves an extreme


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  degree of risk as semis cannot brake effectively to respond to the change in traffic conditions.

  Further, Brayton had actual awareness of the risk involved in traveling at high speeds during rush

   hour. Because Brayton's actions involved a high degree of risk and he had actual awareness of

   the risk involved, Brayton and Warren Transport are grossly negligent.

  Negligence Per Se

           24.      Plaintiff realleges the allegations contained above, inclusive, and incorporates the

   same herein by reference.

           25.      Negligence per se applies when the courts have determined that violation of a

   particular statute is negligence as a matter of law. See Parrot v. Garcia, 436 S.W.2d 897, 900

   (Tex. 1969). To prevail in a negligence per se claim, a Plaintiff must show: (1) that Plaintiff

   belongs to the class of persons the statute was designed to protect, and the injury suffered is of

   the type that statute was designed to prevent; (2) the statute is one for which tort liability may be

   imposed when violated; (3) defendant violated the statute without excuse; and (4) defendant's act

   or omission proximately caused Plaintiff's injury. Nixon v. Mr. Prop. Mgmt. Co., 690 S.W.2d

   546,549 (Tex. 1985).

           A.       Violations of the Texas Transportation Code

            26.     As shown above, Defendants violated numerous sections of the Texas

   Transportation Code. The Transportation Code was created to protect drivers on Texas roads, of

   which Plaintiff was one. Defendants' actions were the proximate cause of Plaintiff's injuries. As

   such, Brayton and Warren Transportation are liable for negligence per se.

           B.       Violations of the Texas Administrative Code

           27.      Also shown above, Defendants violated numerous sections of the Texas

   Administrative Code.         Specifically, TEX. ADMIN. CODE § 4.11 (Tex. Dep't of Pub. Safety,


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  Commercial Vehicle Regulations & Enforcement Procedures) incorporates provisions of the

  Federal Motor Carrier Safety Regulations. As such, Brayton and Warren Transport are liable for

   negligence per se.

           C.       Violations of the Federal Motor Carrier Safety Regulations

           28.      Finally, also shown above, Cross-Defendants violated numerous sections of the

   Federal Motor Carrier Safety Regulations. See 49 C.F.R. § 376.1 et seq. As such, Brayton and

   Warren Transport are liable for negligence per se.

   Liability

           29.      Cross-Plaintiff realleges the allegations contained above, inclusive, and

   incorporates the same herein by reference.

           30.      Based on the foregoing facts and causes of action, Mr. Payne seeks a declaration

   that Cross-Defendants are wholly and completely liable for any and all claims asserted against

   Mr. Payne by Plaintiffs.

                                                   VI.   DAMAGES

           31.      As a result of the negligence of Cross-Defendants, Cross-Plaintiff suffered severe

   bodily injuries to his pelvis, knee and body generally. As a further result of the negligence and

   the injuries described above, Cross-Plaintiff has incurred expenses for medical care and

   attention. These expenses were necessary for the care and treatment of the injuries sustained by

   Cross-Plaintiff, and the charges made for such services were reasonable in Collin County, Texas.

   (Cross-Plaintiff will require further medical care and attention and will necessarily incur

   reasonable expenses in the future for such medical needs.).

           32.      In addition, as a result of Cross-Defendants' negligent conduct as alleged

   hereinabove, Cross-Plaintiff has sustained the following damages:


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                    (1)     Past reasonable and necessary medical expenses;

                    (2)     Reasonable and necessary medical expenses which in all probability will
                            be incurred in the future;

                    (3)     Past physical pain and suffering;

                     (4)     Future physical pain and suffering;

                     (5)     Past mental pain and anguish;

                     (6)     Past physical impairment;

                     (7)     Future physical impairment;

                     (8)     Disfigurement

                     (9)     Pre-judgment interest as allowed by law;

                     (10)    Post-judgment interest for which he now sues;

                     (11)    Lost wages, and future loss of wage earning capacity;

                     (12)    Exemplary damages; and

                     (13)    Court Costs.

            33.      Pursuant to TEX. R. CrV. P. 47, Cross-Plaintiff seeks damages over $1,000,000.

                                         VII.   CONDITIONS PRECEDENT

            34.      All conditions precedent have been performed or have occurred as required by

  TEX. R.   ClV.   P. 54.

                                       VIII. REQUEST FOR DISCLOSURE

            35.      Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Mr. Payne hereby

   requests Cross-Defendants to disclose, within fifty (50) days of service of this request, the

   information and material described in Rule 194.2 (a)-(1).

                                             IX. DEMAND FOR JURY

            36.      Mr. Payne demands a jury trial and tendered the appropriate fee.

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                                                     x.   PRAYER

           WHEREFORE, PREMISES CONSIDERED, Mr. Payne requests:

                    1) Judgment against Cross-Defendants in a sum within the jurisdictional limits
                       of the court;

                    2) Cross-Defendants found liable for all claims asserted by Plaintiff against Mr.
                         Payne;

                    3) Prejudgment and post-judgment interest as provided by law;

                    4) Costs of suit; and

                    5) Such other and further relief to which Cross-Plaintiff may be justly entitled.

                    6)

                                                                Respectfully submitted,

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                                         CERTIFICA TE OF SERVICE

         This is to certify that on the 13th day of August, 2015, a true and correct copy of the
  foregoing document was served upon the following:

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